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13
                            UNITED STATES DISTRICT COURT
14                    FOR THE NORTHERN DISTRICT OF CALIFORNIA

15
      RICKY COCHRAN, ALAIN BERREBI, and                Case No. 5:21-cv-01887-EJD
16    JARAMEY STOBBE, individually and on
      behalf of all others similarly situated,         Hon. Edward J. Davila
17
                            Plaintiffs,                DECLARATION OF CAMERON R.
18                                                     AZARI IN SUPPORT OF
      v.                                               PRELIMINARY APPROVAL
19
      THE KROGER CO. and ACCELLION, INC.,
20
                            Defendants.
21
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           DECLARATION OF CAMERON R. AZARI ISO PRELIMINARY APPROVAL OF SETTLEMENT
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 1          I, Cameron R. Azari, Esq., hereby declare and state as follows:

 2          1.      I am the Director of Legal Notice for Hilsoft Notifications (“Hilsoft”), a firm that

 3 specializes in designing, developing, analyzing, and implementing large-scale, un-biased, legal

 4 notification plans. Hilsoft is a business unit of Epiq Class Action and Claims Solutions, Inc.

 5          2.      I am a nationally recognized expert in the field of legal notice and I have served as

 6 an expert in dozens of federal and state cases involving class action notice plans.

 7          3.      I have personal knowledge of the matters stated herein and, if called upon, I could

 8 and would competently testify thereto. I submit this Declaration in support of Plaintiffs’ Motion

 9 for Preliminary Approval of Class Action Settlement.

10          4.      Hilsoft was retained to provide notice and administration services in this matter.

11 This declaration will describe the Notice Plan developed for the proposed Settlement in the class

12 action Cochran, et al. v. Accellion, Inc., et al., Case No. 5:21-cv-01887-EJD (N.D. Cal.).

13          5.      Individual notice will be emailed or mailed to the Settlement Class thereby,

14 effectively reaching the vast majority, if not virtually all, of the Settlement Class with notice.

15          6.      The Federal Judicial Center’s (“FJC”) Judges’ Class Action Notice and Claims

16 Process Checklist and Plaint Language Guide (the “FJC Checklist”) considers 70-95% reach

17 among class members to be a “high percentage” and reasonable. The efforts proposed here are

18 designed to reach virtually the entire Class with notice multiple times, thereby fulfilling the FJC

19 guidelines as well as due process requirements.

20          7.      I have reviewed the Settlement Agreement, Long Form Notice, Summary Notice,

21 and Claim Form to ensure, and I can confirm, that all required information is plainly available to

22 Settlement Class Members. Draft forms of the notices and Claim Form are attached as Exhibits A,

23 C, and E to the Settlement Agreement.

24                                     RELEVANT EXPERIENCE

25          8.      Hilsoft and Epiq are industry leaders in class action settlement administration,

26 having implemented more than a thousand successful class action notice and settlement

27 administration matters, and handled thousands of distributions in other contexts.

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 1          9.       I have served as a notice expert and have been recognized and appointed by courts

 2 to design and provide notice in several data breach settlements, including:

 3               Nelson v. Roadrunner Transportation Systems, Inc., Case No. 1:18-cv-07400, (N.D.
                  Ill.);
 4
                 In re: Premera Blue Cross Customer Data Security Breach Litigation, Case No. 3:15-
 5                md-02633-SI (D. Ore.);

 6               In re Community Health Systems, Inc. Customer Data Security Breach Litigation, MDL
                  No. 2595 (N.D. Ala.);
 7
                 Adlouni v. UCLA Health System Auxiliary, et al, Case No. BC589243 (Sup. Ct. Cal.);
 8
                 Parsons v. Kimpton Hotel & Restaurant Group, LLC, Case No. 3:16-cv-05387-VC
 9                (N.D. Cal);

10               In re: Valley Anesthesiology Consultants, Inc. Data Breach Litigation, Case No.
                  CV2016-013446 (Sup. Ct. Cal);
11
                 McGann, et al., v. Schnuck Markets, Inc., Case No. 1322-CC00800 (Mo. Cir. Ct.);
12
                 Greater Chautauqua Federal Credit Union v. Kmart Corp., et al., Case No. 1:15-cv-
13                02228 (N.D. Ill.);

14               In re Heartland Data Security Breach Litigation, MDL No. 2046 (S.D. Tex.);
15               In re Trans Union Corp. Privacy Litigation, MDL No. 1350 (N.D. Ill.);
16               In re: Countrywide Financial Corp. Customer Data Security Breach Litigation, MDL
                  No.1998, (W.D. Ky.);
17
                 In re TJX Companies, Inc., Customer Data Security Breach Litigation, MDL No. 1838
18                (D. Mass.);

19               Lockwood v. Certegy Check Services, Inc., 8:07-cv-1434-T-23TGW (M.D. Fla.); and
20               In re: Department of Veteran Affairs (VA) Data Theft Litigation, MDL No. 1796
                  (D.D.C.).
21

22          10.      Numerous court opinions and comments regarding my testimony and the adequacy

23 of our notice efforts are included in Hilsoft’s curriculum vitae attached hereto as Exhibit A.

24          11.      In forming expert opinions, my staff and I draw from our in-depth class action case

25 experience, as well as our educational and related work experiences. I am an active member of the

26 Oregon State Bar, having received my Bachelor of Science from Willamette University and my

27 Juris Doctor from Northwestern School of Law at Lewis and Clark College. I have served as the

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 1 Director of Legal Notice for Hilsoft since 2008 and have overseen the detailed planning of virtually

 2 all of our court-approved notice programs during that time. Before assuming my current role with

 3 Hilsoft, I served in a similar role as Director of Epiq Legal Noticing (previously called Huntington

 4 Legal Advertising). Overall, I have over 21 years of experience in the design and implementation

 5 of legal notification and claims administration programs, having been personally involved in well

 6 over one hundred successful notice programs.

 7                                    NOTICE PLAN SUMMARY

 8          12.    In the proposed Settlement, Class Members include all residents of the United

 9 States who were notified by The Kroger Co. (“Kroger”) that their Personally Identifying

10 Information was compromised as a result of the FTA Data Breach.

11                                 Individual Notice – Mail and Email

12          13.    The Settlement Agreement provides that Kroger will share a Settlement Class List

13 that includes names, mailing addresses, and email addresses for the known Settlement Class

14 Members. The proposed Notice Plan provides that individual notice be sent via email (“Email

15 Notice”) and a Postcard Notice will be mailed to all undeliverable email addresses or to whom an

16 email address has not been provided. All Email and Postcard Notices will also include a unique

17 identifying number for each identified Class Member to allow for more secure online claim

18 processing and the efficient processing of returned paper Claim Forms.

19          14.    The Summary Notice will be sent via email to all potential Settlement Class

20 Members for whom a facially valid email address is available. The Email Notice will use an

21 embedded html text format. This format will provide easy to read text without graphics, tables,

22 images and other elements that would increase the likelihood that the message could be blocked

23 by Internet Service Providers (ISPs) and/or SPAM filters. Each Email Notice will be transmitted

24 with a unique message identifier. If an item is returned as undeliverable, commonly referred to as

25 a “bounce,” the reason is noted. For any Email Notice for which a bounce code is received

26 indicating that the message was undeliverable, at least two additional attempts will be made to

27 deliver the Notice by email. The Email Notice will include an embedded link to the case website.

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 1 By clicking the link, recipients will be able to easily access information about the case.

 2          15.    The Summary Notice will also be sent as a Postcard Notice to all potential

 3 Settlement Class Members with an associated physical address for whom a facially valid email

 4 address could not be located and for those with an undeliverable email after several attempts. The

 5 Postcard Notice will be sent via USPS first class mail. The Postcard Notice clearly and concisely

 6 summarizes the case and the legal rights of the Settlement Class Members. The Postcard Notice

 7 will also direct the recipients to a case website where they can access additional information. Prior

 8 to initiating the Postcard Notice, Hilsoft will run the Class Notice List through the National Change

 9 of Address (“NCOA”) database maintained by the USPS to ensure Class Member address

10 information is up-to-date and accurately formatted for mailing.1 In addition, the addresses will be

11 certified via the Coding Accuracy Support System (CASS) to ensure the quality of the zip code,

12 and will be verified through Delivery Point Validation (DPV) to verify the accuracy of the

13 addresses. Should NCOA provide a more current mailing address for a class member, Hilsoft will

14 update the address accordingly. Postcard Notices returned as undeliverable will be re-mailed to

15 any new address available through USPS information, for example, to the address provided by the

16 USPS on returned pieces for which the automatic forwarding order has expired, but which is still

17 during the period in which the USPS returns the piece with the address indicated, or to better

18 addresses that may be found using a third-party lookup service. Upon successfully locating better

19 addresses, Postcard Notices will be promptly remailed.

20                                       Email Reminder Notice
21          16.    Any Settlement Class Member for whom Hilsoft has an email address, and who has
22 not submitted a valid claim form, Hilsoft will send periodic email reminders of the opportunity to

23 file a Claim Form prior to the Claim Deadline. The Reminder Notice will contain a summary of

24

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   1
     The NOCA database is maintained by the USPS and consists of approximately 160 million
26 permanent change-of-address (COA) records consisting of names and addresses of individuals,
   families, and businesses who have filed a change-of-address with the Postal Service™. The
27 address information is maintained on the database for 48 months and reduces undeliverable mail
   by providing the most current address information, including standardized and delivery point
28 coded addresses, for matches made to the NCOA file for individual, family, and business moves.
                                             5
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 1 the Settlement and a link to the case website.

 2                                     Internet Notice Campaign

 3          17.    Hilsoft will conduct an internet advertisement publication notice program, which

 4 will be approved by the Parties and the Court. The internet advertisement publication notice will

 5 begin no later than the Notice Date and will continue through the Claims Deadline. The internet

 6 advertisement publication notice will be thorough and targeted.

 7          18.    Additionally, the Summary Notice will be posted on the internal Kroger intranet

 8 “The Feed.” “The Feed” is available to all Kroger associates, who view it frequently for important

 9 company updates and shift schedules for in-store associates.

10                                           Settlement Website

11          19.    Hilsoft   will   create    and   maintain      a   dedicated   settlement   website:

12 www.KrogerFTADataBreachSettlement.com. The website address will be included in the Notices

13 and all internet advertisements will link directly to the Settlement Website. Relevant documents,

14 including the Long Form Notice, the Claim Form, the Settlement Agreement, the Preliminary

15 Approval Order entered by the Court, and the operative complaint, will be posted on the Settlement

16 Website, so Class Members may review and download them. The Settlement Website will also

17 provide the ability to file an online Claim Form and a Request of Exclusion, and will include

18 relevant dates, answers to frequently asked questions, instructions for how Settlement Class

19 Members may opt-out (request exclusion) from or object to the Settlement Agreement, contact

20 information for the Settlement Administrator, and other case-related information.

21                                           Toll-Free Number

22          20.    A toll-free number will be established for the Settlement. Callers will be able to

23 hear an introductory message. Callers will also have the option to learn more about the settlement

24 in the form of recorded answers to frequently asked questions.

25                                            Notice Content

26          21.    The Notices (including the Claim Form) are designed to be “noticed,” reviewed,

27 and—by presenting the information in plain language—understood by Settlement Class Members.

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 1 The design of the Notices follows the principles embodied in the Federal Judicial Center’s

 2 illustrative “model” notices posted at www.fjc.gov. Many courts, and the FJC itself, have approved

 3 notices that we have written and designed in a similar fashion. The Notices contain substantial,

 4 albeit easy-to-read, summaries of all of the key information about Settlement Class Members’

 5 rights and options. Consistent with our normal practice, all notice documents will undergo a final

 6 edit prior to actual mailing and publication for grammatical errors and accuracy.

 7          22.    The Long Form Notice will provide substantial information to Settlement Class

 8 Members. The Long Form Notice will include (i) details regarding the Settlement Class Members’

 9 ability to request exclusion from, opt-out, object to, or otherwise comment on the Settlement

10 Agreement, (ii) instructions on how to submit a Claim Form, (iii) the deadline to submit Claim

11 Forms, and (iv) the date, time, and location of the Fairness Hearing, among other information. A

12 draft of the Long Form Notice is attached to the Settlement Agreement as Exhibit C.

13                                        Distribution Options

14          23.    The Settlement provides Class Members the option of filing a Claim for Cash Fund

15 Payments, or Credit Monitoring and Insurance Services, or Documented Loss Payments for

16 reimbursement of Documented Losses. The Postcard Notice will contain a detailed summary of

17 the relevant information about the Settlement, including a link to the Settlement Website where

18 Class Members can file a Claim for a Cash Fund Payment, or Credit Monitoring and Insurance

19 Services, or a Documented Loss Payment for reimbursement of Documented Losses. The Email

20 Notice will link directly to the claim filing portal on the settlement website, where Class Members

21 can file an online claim for any one of the three benefits offered under the Settlement. Under any

22 method of filing a Claim, Class Members will be given the option of receiving a digital payment

23 (such as Venmo, Paypal, Digital Mastercard or other options). Class Members can also elect to

24 receive a traditional paper check.

25                                          CONCLUSION

26          24.    The above-described notice program is designed to reach virtually the entire

27 Settlement Class and provide them with information necessary to understand their rights and

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 1 options.

 2          25.    In my opinion, the above-described notice program is consistent with other

 3 effective class action notice programs.

 4          26.    It is my opinion, based on my expertise and experience and that of my team, that

 5 this method of focused notice dissemination provides effective notice in this Action, will provide

 6 the best notice that is practicable, adheres to Fed. R. Civ. P. 23, follows the guidance set forth in

 7 the Manual for Complex Litigation 4th Ed. and FJC guidance, and exceeds the requirements of

 8 due process, including its “desire to actually inform” requirement.

 9          27.    In my opinion, and in light of my experience in similar class action settlements,

10 while the claims rate may always vary depending on various factors, all things being equal and in

11 view of the administration outcomes in other recent similar data breach class action settlements, I

12 anticipate that the claims rate in this case — for all settlement benefits available (either credit

13 monitoring, or cash) — will be between 1% and 3%.

14          28.    Epiq has also been retained to provide the requisite notice to governmental agencies

15 required pursuant to the Class Action Fairness Act, and will provide a declaration attesting to the

16 completion of such notice.

17          29.    At the conclusion of the Notice Plan, I will provide a final report to the Court

18 verifying its implementation.

19          I declare under penalty of perjury that the foregoing is true and correct. Executed this 30th

20 day of June 2021.

21

22
                                                  Cameron R. Azari, Esq.
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          DECLARATION OF CAMERON R. AZARI ISO PRELIMINARY APPROVAL OF SETTLEMENT
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            Exhibit A
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Hilsoft Notifications (“Hilsoft”) is a leading provider of legal notice services for large-scale class action and
bankruptcy matters. We specialize in providing quality, expert, and notice plan development – designing notice
programs that satisfy due process requirements and withstand judicial scrutiny. Hilsoft is a business unit of Epiq
Class Action & Claims Solutions, Inc. (“Epiq”). Hilsoft has been retained by defendants or plaintiffs for more than
450 cases, including more than 40 MDL cases, with notices appearing in more than 53 languages and in almost
every country, territory and dependency in the world. For more than 25 years, Hilsoft’s notice plans have been
approved and upheld by courts. Case examples include:

   Hilsoft designed and implemented monumental notice campaigns to notify current or former owners or
    lessees of certain BMW, Mazda, Subaru, Toyota, Honda, Nissan, and Ford vehicles as part of $1.49 billion
    in settlements regarding Takata airbags. The Notice Plans included individual mailed notice to more than
    59.6 million potential class members and notice via consumer publications, U.S. Territory newspapers,
    radio, internet banners, mobile banners, and other behaviorally targeted digital media. Combined, the
    Notice Plans reached more than 95% of adults aged 18+ in the U.S. who owned or leased a subject vehicle
    with a frequency of 4.0 times each. In re: Takata Airbag Products Liability Litigation (OEMS – BMW,
    Mazda, Subaru, Toyota, Honda, Nissan and Ford), MDL No. 2599 (S.D. Fla.).

   For a landmark $6.05 billion settlement reached by Visa and MasterCard in 2012, Hilsoft implemented an
    intensive notice program, which included over 19.8 million direct mail notices to class members together
    with insertions in over 1,500 newspapers, consumer magazines, national business publications, trade and
    specialty publications, and language & ethnic targeted publications. Hilsoft also implemented an extensive
    online notice campaign with banner notices, which generated more than 770 million adult impressions, a
    settlement website in eight languages, and acquisition of sponsored search listings to facilitate locating the
    website. For the subsequent, superseding $5.54 billion settlement reached by Visa and MasterCard in
    2019, Hilsoft implemented an extensive notice program, which included over 16.3 million direct mail notices
    to class members together with over 354 print publication insertions and banner notices, which generated
    more than 689 million adult impressions. In re: Payment Card Interchange Fee and Merchant Discount
    Antitrust Litigation, 05-MD-1720, MDL No. 1720 (E.D.N.Y.).
   For a $250 million settlement with approximately 4.7 million class members, Hilsoft designed and
    implemented a notice program with individual notice via postcard or email to approximately 1.43 million
    class members and a robust publication program, which combined, reached approximately 78.8% of all
    U.S. adults aged 35+ approximately 2.4 times each. Hale v. State Farm Mutual Automobile Insurance
    Company, et al., 12-cv-00660 (S.D. Ill.).

   Hilsoft designed and implemented an extensive individual notice program, which included 8.6 million double-
    postcard notices and 1.4 million email notices. The notices informed class members of a $32 million
    settlement for a “security incident” regarding class members’ personal information stored in Premera’s
    computer network, which was compromised. The individual notice efforts reached 93.3% of the settlement
    class. A settlement website, an informational release, and a geo-targeted publication notice further
    enhanced the notice efforts. In re: Premera Blue Cross Customer Data Security Breach Litigation,
    3:15-md-2633 (D. Ore.).

   Hilsoft provided notice for the $113 million lithium-ion batteries antitrust litigation settlements, which included
    individual notice via email to millions of class members, banner and social media ads, an informational
    release, and a settlement website. In re: Lithium Ion Batteries Antitrust Litigation, 4:13-md-02420, MDL
    No. 2420 (N.D. Cal.).

   Hilsoft designed a notice program that included extensive data acquisition and mailed notice to inform
    owners and lessees of specific models of Mercedes-Benz vehicles. The notice program reached
    approximately 96.5% of all class members. Callaway v. Mercedes-Benz USA, LLC, 8:14-cv-02011 (C.D. Cal.).

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 Hilsoft provided notice for a $520 million settlement, which involved utility customers (residential,
  commercial, industrial, etc.) who paid utility bills. The notice program included individual notice to more
  than 1.6 million known class members via postal mail or email and a supplemental publication notice in local
  newspapers, banner notices, and a settlement website. The individual notice efforts alone reached more
  than 98.6% of the class. Cook, et al. v. South Carolina Public Service Authority, et al., 2019-CP-23-
  6675 (Ct. of Com. Pleas. 13th Jud. Cir. S.C.).

 For a $20 million TCPA settlement that involved Uber, Hilsoft created a notice program, which resulted in
  notice via mail or email to more than 6.9 million identifiable class members. The combined measurable
  notice effort reached approximately 90.6% of the settlement class with direct mail and email, newspaper and
  internet banner ads. Vergara, et al., v. Uber Technologies, Inc., 1:15-CV-06972 (N.D. Ill.).

 A comprehensive notice program within the Volkswagen Emissions Litigation that provided individual notice
  to more than 946,000 vehicle owners via first class mail and to more than 855,000 vehicle owners via email.
  A targeted internet campaign further enhanced the notice effort. In re: Volkswagen “Clean Diesel”
  Marketing, Sales Practices and Product Liability Litigation (Bosch Settlement), MDL No. 2672 (N.D. Cal.).

 Hilsoft designed and implemented a comprehensive notice plan, which included individual notice via an
  oversized postcard notice to more than 740,000 class members as well as email notice to class members.
  Combined the individual notice efforts delivered notice to approximately 98% of the class. Supplemental
  newspaper notice in four large-circulation newspapers and a settlement website further expanded the notice
  efforts. Lusnak v. Bank of America, N.A., CV 14-1855 (C.D. Cal.).

 Hilsoft provided notice for both the class certification and the settlement phases of the case. The individual
  notice efforts included sending postcard notices to more than 2.3 million class members, which reached
  96% of the class. Publication notice in a national newspaper, targeted internet banner notices and a
  settlement website further extended the reach of the notice plan. Waldrup v. Countrywide Financial
  Corporation, et al., 2:13-cv-08833 (C.D. Cal.).

 An extensive notice effort regarding asbestos personal injury claims and rights as to Debtors’ Joint Plan of
  Reorganization and Disclosure Statement that was designed and implemented by Hilsoft. The notice
  program included nationwide consumer print publications, trade and union labor publications, internet
  banner advertising, an informational release, and a website. In re: Kaiser Gypsum Company, Inc., el al.,
  16-31602 (Bankr. W.D. N.C.).

 Hilsoft designed and implemented an extensive settlement notice plan for a class period spanning more
  than 40 years for smokers of light cigarettes. The notice plan delivered a measured reach of approximately
  87.8% of Arkansas adults 25+ with a frequency of 8.9 times and approximately 91.1% of Arkansas adults
  55+ with a frequency of 10.8 times. Hispanic newspaper notice, an informational release, radio public
  service announcements (“PSAs”), sponsored search listings and a case website further enhanced reach.
  Miner v. Philip Morris USA, Inc., 60CV03-4661 (Ark. Cir. Ct.).

 A large asbestos bar date notice effort, which included individual notice, national consumer publications,
  hundreds of local and national newspapers, Spanish newspapers, union labor publications, and digital
  media to reach the target audience. In re: Energy Future Holdings Corp., et al., 14-10979 (Bankr. D. Del.).

 Overdraft fee class actions have been brought against nearly every major U.S. commercial bank. For
  related settlements from 2010-2020, Hilsoft has developed programs that integrate individual notice and in
  some cases paid media efforts. Fifth Third Bank, National City Bank, Bank of Oklahoma, Webster Bank,
  Harris Bank, M& I Bank, PNC Bank, Compass Bank, Commerce Bank, Citizens Bank, Great Western Bank,
  TD Bank, BancorpSouth, Comerica Bank, Susquehanna Bank, Associated Bank, Capital One, M&T Bank,
  Iberiabank and Synovus are among the more than 20 banks that have retained Epiq (Hilsoft). In re:
  Checking Account Overdraft Litigation, MDL No. 2036 (S.D. Fla.).

 For one of the largest and most complex class action case in Canadian history, Hilsoft designed and
  implemented groundbreaking notice to disparate, remote indigenous people in the multi-billion dollar
  settlement. In re: Residential Schools Class Action Litigation, 00-CV-192059 CPA (Ont. Super. Ct.).



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   BP’s $7.8 billion settlement related to the Deepwater Horizon oil spill emerged from possibly the most
    complex class action case in U.S. history. Hilsoft drafted and opined on all forms of notice. The 2012 dual
    notice program to “Economic and Property Damages” and “Medical Benefits” settlement classes designed
    by Hilsoft reached at least 95% Gulf Coast region adults via more than 7,900 television spots, 5,200 radio
    spots, 5,400 print insertions in newspapers, consumer publications, and trade journals, digital media, and
    individual notice. Subsequently, Hilsoft designed and implemented one of the largest claim deadline notice
    campaigns ever implemented, which resulted in a combined measurable paid print, television, radio and
    internet effort, which reached in excess of 90% of adults aged 18+ in the 26 identified DMAs covering the
    Gulf Coast Areas an average of 5.5 times each. In re: Oil Spill by the Oil Rig “Deepwater Horizon” in
    the Gulf of Mexico, on April 20, 2010, MDL No. 2179 (E.D. La.).

   Extensive point of sale notice program of a settlement, which provided payments of up to $100,000 related
    to Chinese drywall – 100 million notices distributed to Lowe’s purchasers during a six-week period. Vereen
    v. Lowe’s Home Centers, SU10-CV-2267B (Ga. Super. Ct.).


                                              LEGAL NOTICING EXPERTS


Cameron Azari, Esq., Epiq Senior Vice President, Hilsoft Director of Legal Notice
Cameron Azari, Esq. has more than 20 years of experience in the design and implementation of legal notice and claims
administration programs. He is a nationally recognized expert in the creation of class action notification campaigns in
compliance with Fed R. Civ. P. 23(c)(2) (d)(2) and (e) and similar state class action statutes. Cameron has been
responsible for hundreds of legal notice and advertising programs. During his career, he has been involved in an array
of high profile class action matters, including In re: Takata Airbag Products Liability Litigation, In re: Payment Card
Interchange Fee and Merchant Discount Antitrust Litigation (MasterCard & Visa), In re: Volkswagen “Clean Diesel”
Marketing, Sales Practices and Product Liability Litigation (Bosch Settlement), In re: Oil Spill by the Oil Rig “Deepwater
Horizon” in the Gulf of Mexico on April 20, 2010, In re: Checking Account Overdraft Litigation, and In re: Residential
Schools Class Action Litigation. He is an active author and speaker on a broad range of legal notice and class action
topics ranging from FRCP Rule 23 to email noticing, response rates, and optimizing settlement effectiveness.
Cameron is an active member of the Oregon State Bar. He received his B.S. from Willamette University and his J.D.
from Northwestern School of Law at Lewis and Clark College. Cameron can be reached at caza@legalnotice.com.

Lauran Schultz, Epiq Managing Director
Lauran Schultz consults with Hilsoft clients on complex noticing issues. Lauran has more than 20 years of experience
as a professional in the marketing and advertising field, specializing in legal notice and class action administration
since 2005. High profile actions he has been involved in include companies such as BP, Bank of America, Fifth Third
Bank, Symantec Corporation, Lowe’s Home Centers, First Health, Apple, TJX, CNA and Carrier Corporation. Prior to
joining Epiq in 2005, Lauran was a Senior Vice President of Marketing at National City Bank in Cleveland, Ohio.
Lauran’s education includes advanced study in political science at the University of Wisconsin-Madison along with a
Ford Foundation fellowship from the Social Science Research Council and American Council of Learned Societies.
Lauran can be reached at lschultz@hilsoft.com.

Kyle Bingham, Manager of Strategic Communications
Kyle Bingham has 15 years of experience in the advertising industry. At Hilsoft and Epiq, Kyle is responsible for
overseeing the research, planning, and execution of advertising campaigns for legal notice programs including class
action, bankruptcy and other legal cases. Kyle has been involved in the design and implementation of numerous legal
notice campaigns, including In re: Takata Airbag Products Liability Litigation, In re: Volkswagen “Clean Diesel”
Marketing, Sales Practices and Product Liability Litigation (Bosch), In re: Payment Card Interchange Fee and Merchant
Discount Antitrust Litigation (MasterCard & Visa), In re: Energy Future Holdings Corp., et al. (Asbestos Claims Bar
Notice), In re: Residential Schools Class Action Litigation, Hale v. State Farm Mutual Automobile Insurance Company,
and In re: Checking Account Overdraft Litigation. Prior to joining Epiq and Hilsoft, Kyle worked at Wieden+Kennedy
for seven years, an industry-leading advertising agency where he planned and purchased print, digital and broadcast
media, and presented strategy and media campaigns to clients for multi-million dollar branding campaigns and regional
direct response initiatives.     He received his B.A. from Willamette University.           Kyle can be reached at
kbingham@epiqglobal.com.




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                                      ARTICLES AND PRESENTATIONS


 Cameron Azari Speaker, “Virtual Global Class Actions Symposium 2020, Class Actions Case Management
  Panel.” November 18, 2020.

 Cameron Azari Speaker, “Consumers and Class Action Notices: An FTC Workshop.” Federal Trade
  Commission, Washington, DC, October 29, 2019.

 Cameron Azari Speaker, “The New Outlook for Automotive Class Action Litigation: Coattails, Recalls, and
  Loss of Value/Diminution Cases.” ACI’s Automotive Product Liability Litigation Conference.” American
  Conference Institute, Chicago, IL, July 18, 2019.

 Cameron Azari Moderator, “Prepare for the Future of Automotive Class Actions.” Bloomberg Next,
  Webinar-CLE, November 6, 2018.

 Cameron Azari Speaker, “The Battleground for Class Certification: Plaintiff and Defense Burdens,
  Commonality Requirements and Ascertainability.” 30th National Forum on Consumer Finance Class Actions
  and Government Enforcement, Chicago, IL, July 17, 2018.

 Cameron Azari Speaker, “Recent Developments in Class Action Notice and Claims Administration.” PLI's
  Class Action Litigation 2018 Conference, New York, NY, June 21, 2018.

 Cameron Azari Speaker, “One Class Action or 50? Choice of Law Considerations as Potential Impediment
  to Nationwide Class Action Settlements.” 5th Annual Western Regional CLE Program on Class Actions and
  Mass Torts. Clyde & Co LLP, San Francisco, CA, June 22, 2018.

 Cameron Azari Co-Author, A Practical Guide to Chapter 11 Bankruptcy Publication Notice. E-book,
  published, May 2017.

 Cameron Azari Featured Speaker, “Proposed Changes to Rule 23 Notice and Scrutiny of Claim Filing
  Rates,” DC Consumer Class Action Lawyers Luncheon, December 6, 2016.

 Cameron Azari Speaker, “Recent Developments in Consumer Class Action Notice and Claims
  Administration." Berman DeValerio Litigation Group, San Francisco, CA, June 8, 2016.

 Cameron Azari Speaker, “2016 Cybersecurity & Privacy Summit. Moving From ‘Issue Spotting’ To
  Implementing a Mature Risk Management Model.” King & Spalding, Atlanta, GA, April 25, 2016.

 Cameron Azari Speaker, “Live Cyber Incident Simulation Exercise.” Advisen’s Cyber Risk Insights
  Conference, London, UK, February 10, 2015.

 Cameron Azari Speaker, “Pitfalls of Class Action Notice and Claims Administration.” PLI's Class Action
  Litigation 2014 Conference, New York, NY, July 9, 2014.

 Cameron Azari Co-Author, “What You Need to Know About Frequency Capping In Online Class Action
  Notice Programs.” Class Action Litigation Report, June 2014.

 Cameron Azari Speaker, “Class Settlement Update – Legal Notice and Court Expectations.” PLI's 19th
  Annual Consumer Financial Services Institute Conference, New York, NY, April 7-8, 2014 and Chicago, IL,
  April 28-29, 2014.

 Cameron Azari Speaker, “Legal Notice in Consumer Finance Settlements - Recent Developments.” ACI’s
  Consumer Finance Class Actions and Litigation, New York, NY, January 29-30, 2014.

 Cameron Azari Speaker, “Legal Notice in Building Products Cases.” HarrisMartin’s Construction Product
  Litigation Conference, Miami, FL, October 25, 2013.



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 Cameron Azari Co-Author, “Class Action Legal Noticing: Plain Language Revisited.” Law360, April 2013.

 Cameron Azari Speaker, “Legal Notice in Consumer Finance Settlements Getting your Settlement
  Approved.” ACI’s Consumer Finance Class Actions and Litigation, New York, NY, January 31-February 1, 2013.

 Cameron Azari Speaker, “Perspectives from Class Action Claims Administrators: Email Notices and
  Response Rates.” CLE International’s 8th Annual Class Actions Conference, Los Angeles, CA, May 17-18, 2012.

 Cameron Azari Speaker, “Class Action Litigation Trends: A Look into New Cases, Theories of Liability &
  Updates on the Cases to Watch.” ACI’s Consumer Finance Class Actions and Litigation, New York, NY,
  January 26-27, 2012.

 Lauran Schultz Speaker, “Legal Notice Best Practices: Building a Workable Settlement Structure.” CLE
  International’s 7th Annual Class Action Conference, San Francisco, CA, May 2011.

 Cameron Azari Speaker, “Data Breaches Involving Consumer Financial Information: Litigation Exposures
  and Settlement Considerations.” ACI’s Consumer Finance Class Actions and Litigation, New York, NY,
  January 2011.

 Cameron Azari Speaker, “Notice in Consumer Class Actions: Adequacy, Efficiency and Best Practices.”
  CLE International’s 5th Annual Class Action Conference: Prosecuting and Defending Complex Litigation,
  San Francisco, CA, 2009.

 Lauran Schultz Speaker, “Efficiency and Adequacy Considerations in Class Action Media Notice
  Programs.” Chicago Bar Association, Chicago, IL, 2009.

 Cameron Azari Author, “Clearing the Five Hurdles of Email - Delivery of Class Action Legal Notices.”
  Thomson Reuters Class Action Litigation Reporter, June 2008.

 Cameron Azari Speaker, “Planning for a Smooth Settlement.” ACI: Class Action Defense – Complex
  Settlement Administration for the Class Action Litigator, Phoenix, AZ, 2007.

 Cameron Azari Speaker, “Structuring a Litigation Settlement.” CLE International’s 3rd Annual Conference
  on Class Actions, Los Angeles, CA, 2007.

 Cameron Azari Speaker, “Noticing and Response Rates in Class Action Settlements” – Class Action Bar
  Gathering, Vancouver, British Columbia, 2007.

 Cameron Azari Speaker, “Notice and Response Rates in Class Action Settlements” – Skadden Arps Slate
  Meagher & Flom, LLP, New York, NY, 2006.

 Cameron Azari Speaker, “Notice and Response Rates in Class Action Settlements” – Bridgeport
  Continuing Legal Education, Class Action and the UCL, San Diego, CA, 2006.

 Cameron Azari Speaker, “Notice and Response Rates in Class Action Settlements” – Stoel Rives litigation
  group, Portland, OR / Seattle, WA / Boise, ID / Salt Lake City, UT, 2005.

 Cameron Azari Speaker, “Notice and Response Rates in Class Action Settlements” – Stroock & Stroock
  & Lavan Litigation Group, Los Angeles, CA, 2005.

 Cameron Azari Author, “Twice the Notice or No Settlement.” Current Developments – Issue II, August 2003.

 Cameron Azari Speaker, “A Scientific Approach to Legal Notice Communication” – Weil Gotshal litigation
  group, New York, NY, 2003.




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                                                    JUDICIAL COMMENTS


Judge Richard Seeborg, Bautista v. Valero Marketing and Supply Company (Mar. 17, 2021) 3:15-cv-05557 (N.D. Cal.):

         The Notice given to the Settlement Class in accordance with the Notice Order was the best notice practicable
         under the circumstances of these proceedings and of the matters set forth therein, including the proposed
         Settlement set forth in the Settlement Agreement, to all Persons entitled to such notice, and said notice fully
         satisfied the requirements of Fed. R. Civ. P. 23 and due process.

Judge James D. Peterson, Fox, et al. v. Iowa Health System d.b.a. UnityPoint Health (Mar. 4, 2021) 18-cv-327 (W.D. Wis.):

         The approved Notice plan provided for direct mail notice to all class members at their last known address
         according to UnityPoint’s records, as updated by the administrator through the U.S. Postal Service. For
         postcards returned undeliverable, the administrator tried to find updated addresses for those class members.
         The administrator maintained the Settlement website and made Spanish versions of the Long Form Notice
         and Claim Form available upon request. The administrator also maintained a toll-free telephone line which
         provides class members detailed information about the settlement and allows individuals to request a claim
         form be mailed to them.

         The Court finds that this Notice (i) constituted the best notice practicable under the circumstances; (ii) was
         reasonably calculated, under the circumstances, to apprise Settlement Class members of the Settlement, the
         effect of the Settlement (including the release therein), and their right to object to the terms of the settlement
         and appear at the Final Approval Hearing; (iii) constituted due and sufficient notice of the Settlement to all
         reasonably identifiable persons entitled to receive such notice; (iv) satisfied the requirements of due process,
         Federal Rule of Civil Procedure 23(e)(1) and the Class Action Fairness Act of 2005, 28 U.S.C. § 1715, and
         all applicable laws and rules.

Judge Sherri A. Lydon, Fitzhenry v. Independent Home Products, LLC (Mar. 2, 2021) 2:19-cv-02993 (D.S.C.):

         Notice was provided to Class Members in compliance with Section VI of the Settlement Agreement, due
         process, and Rule 23 of the Federal Rules of Civil Procedure. The notice: (i) fully and accurately informed
         Settlement Class Members about the lawsuit and settlement; (ii) provided sufficient information so that
         Settlement Class Members could decide whether to accept the benefits offered, opt-out and pursue their own
         remedies, or object to the settlement; (iii) provided procedures for Class Members to file written objections to
         the proposed settlement, to appear at the hearing, and to state objections to the proposed settlement; and
         (iv) provided the time, date, and place of the final fairness hearing.

Judge James V. Selna, Alvarez v. Sirius XM Radio Inc. (Feb. 9, 2021) 2:18-cv-8605 (C.D. Cal.):

         The Court finds that the dissemination of the Notices attached as Exhibits to the Settlement Agreement: (a)
         was implemented in accordance with the Notice Order; (b) constituted the best notice practicable under the
         circumstances; (c) constituted notice that was reasonably calculated, under the circumstances, to apprise
         Settlement Class Members of (i) the pendency of the Action; (ii) their right to submit a claim (where applicable)
         by submitting a Claim Form; (iii) their right to exclude themselves from the Settlement Class; (iv) the effect of
         the proposed Settlement (including the Releases to be provided thereunder); (v) Named Plaintiffs’ application
         for the payment of Service Awards; (vi) Class Counsel’s motion for an award an attorneys’ fees and expenses;
         (vii) their right to object to any aspect of the Settlement, and/or Class Counsel’s motion for attorneys’ fees and
         expenses (including a Service Award to the Named Plaintiffs and Mr. Wright); and (viii) their right to appear
         at the Final Approval Hearing; (d) constituted due, adequate, and sufficient notice to all Persons entitled to
         receive notice of the proposed Settlement; and (e) satisfied the requirements of Rule 23 of the Federal Rules
         of Civil Procedure, the Constitution of the United States (including the Due Process Clause), and all other
         applicable laws and rules.

Judge Jon S .Tigar, Elder v. Hilton Worldwide Holdings, Inc. (Feb. 4, 2021) 16-cv-00278 (N.D. Cal.):

         “Epiq implemented the notice plan precisely as set out in the Settlement Agreement and as ordered by the
         Court.” ECF No. 162 at 9-10. Epiq sent initial notice by email to 8,777 Class Members and by U.S. Mail to the
         remaining 1,244 Class members. Id. at 10. The Notice informed Class Members about all aspects of the
         Settlement, the date and time of the fairness hearing, and the process for objections. ECF No. 155 at 28-37.

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        Epiq then mailed notice to the 2,696 Class Members whose emails were returned as undeliverable. Id. “Of
        the 10,021 Class Members identified from Defendants’ records, Epiq was unable to deliver the notice to only
        35 Class Members. Accordingly, the reach of the notice is 99.65%.” Id. (citation omitted). Epiq also created
        and maintained a settlement website and a toll-free hotline that Class Members could call if they had questions
        about the settlement. Id.

        The Court finds that the parties have complied with the Court’s preliminary approval order and, because the
        notice plan complied with Rule 23, have provided adequate notice to class members.

Judge Michael W. Jones, Wallace, et al, v. Monier Lifetile LLC, et al. (Jan. 15, 2021) SCV-16410 (Sup. Ct. Cal.):

        The Court also finds that the Class Notice and notice process were implemented in accordance with the
        Preliminary Approval Order, providing the best practicable notice under the circumstances.

Judge Kristi K. DuBose, Drazen v. GoDaddy.com, LLC and Bennett v. GoDaddy.com, LLC (Dec. 23, 2020) 1:19-cv-
00563 (S.D. Ala.):

        The Court finds that the Notice and the claims procedures actually implemented satisfy due process, meet
        the requirements of Rule 23(e)(1), and the Notice constitutes the best notice practicable under the circumstances.

Judge Haywood S. Gilliam, Jr., Izor v. Abacus Data Systems, Inc. (Dec. 21, 2020) 19-cv-01057 (N.D. Cal.):

        The Court finds that the notice plan previously approved by the Court was implemented and that the notice
        thus satisfied Rule 23(c)(2)(B). [T]he Court finds that the parties have sufficiently provided the best practicable
        notice to the class members.

Judge Christopher C. Conner, Al’s Discount Plumbing, et al. v. Viega, LLC (Dec. 18, 2020) 19-cv-00159 (M.D. Pa.):

        The Court finds that the notice and notice plan previously approved by the Court was implemented and
        complies with Fed. R. Civ. P. 23(c)(2)(B) and due process. Specifically, the Court ordered that the third-party
        Settlement Administrator, Epiq, send class notice via email, U.S. mail, by publication in two recognized
        industry magazines, Plumber and PHC News, in both their print and online digital forms, and to implement a
        digital media campaign. (ECF 99). Epiq represents that class notice was provided as directed. See Declaration
        of Cameron R. Azari, ¶¶ 12-15 (ECF 104-13).

Judge Naomi Reice Buchwald, In re: Libor-Based Financial Instruments Antitrust Litigation (Dec. 16, 2020) MDL No.
2262 1:11-md-2262 (S.D.N.Y.):

        Upon review of the record, the Court hereby finds that the forms and methods of notifying the members of the
        Settlement Classes and their terms and conditions have met the requirements of the United States
        Constitution (including the Due Process Clause), Rule 23 of the Federal Rules of Civil Procedure, and all
        other applicable law and rules; constituted the best notice practicable under the circumstances; and
        constituted due and sufficient notice to all members of the Settlement Classes of these proceedings and the
        matters set forth herein, including the Settlements, the Plan of Allocation and the Fairness Hearing. Therefore,
        the Class Notice is finally approved.

Judge Larry A. Burns, Cox, et al. Ametek, Inc., et al. (Dec 15, 2020) 3:17-cv-00597 (S.D. Cal.):

        The Class has received the best practicable notice under the circumstances of this case. The Parties’
        selection and retention of Epiq Class Action & Claims Solutions, Inc. (“Epiq”) as the Claims Administrator was
        reasonable and appropriate. Based on the Declaration of Cameron Azari of Epiq, the Court finds that the
        Settlement Notices were published to the Class Members in the form and manner approved by the Court in
        its Preliminary Approval Order. See Dkt. 129-6. The Settlement Notices provided fair, effective, and the best
        practicable notice to the Class of the Settlement’s terms. The Settlement Notices informed the Class of
        Plaintiffs’ intent to seek attorneys’ fees, costs, and incentive payments, set forth the date, time, and place of
        the Fairness Hearing, and explained Class Members’ rights to object to the Settlement or Fee Motion and to
        appear at the Fairness Hearing. The Settlement and the Court’s deadlines afforded Class Members
        reasonable time to exercise such rights. See Weeks v. Kellogg Co., 2013 WL 6531177, at *22-23 (C.D. Cal.
        Nov. 23, 2013) (class members’ deadline to object or opt out must arise after class counsel’s fee motion is
        filed), citing In re: Mercury Interactive Corp. Secs. Litig., 618 F.3d 988, 994 (9th Cir. 2010). The Settlement
        Notices fully satisfied all notice requirements under the law, including the Federal Rules of Civil Procedure,

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        the requirements of the California Legal Remedies Act, Cal. Civ. Code § 1781, and all due process rights
        under the U.S. Constitution and California Constitutions.

Judge Timothy J. Sullivan, Robinson v. Nationstar Mortgage LLC (Dec. 11, 2020) 8:14-cv-03667 (D. Md.):

        The Class Notice provided to the Settlement Class conforms with the requirements of Fed. Rule Civ. Proc.
        23, the United States Constitution, and any other applicable law, and constitutes the best notice practicable
        under the circumstances, by providing individual notice to all Settlement Class Members who could be
        identified through reasonable effort, and by providing due and adequate notice of the proceedings and of the
        matters set forth therein to the other Settlement Class Members. The Class Notice fully satisfied the
        requirements of Due Process.

Judge Yvonne Gonzalez Rogers, In re: Lithium Ion Batteries Antitrust Litigation (Dec. 10, 2020) 4:13-md-02420, MDL
No. 2420 (N.D. Cal.):

        The proposed notice plan was undertaken and carried out pursuant to this Court’s preliminary approval order
        prior to remand, and a second notice campaign thereafter. (See Dkt. No. 2571.) The class received direct and
        indirect notice through several methods – email notice, mailed notice upon request, an informative settlement
        website, a telephone support line, and a vigorous online campaign. Digital banner advertisements were
        targeted specifically to settlement class members, including on Google and Yahoo’s ad networks, as well as
        Facebook and Instagram, with over 396 million impressions delivered. Sponsored search listings were
        employed on Google, Yahoo and Bing, resulting in 216,477 results, with 1,845 clicks through to the settlement
        website. An informational released was distributed to 495 media contacts in the consumer electronics industry.
        The case website has continued to be maintained as a channel for communications with class members.
        Between February 11, 2020 and April 23, 2020, there were 207,205 unique visitors to the website. In the
        same period, the toll-free telephone number available to class members received 515 calls.

Judge Katherine A. Bacal, Garvin v. San Diego Unified Port District (Nov. 20, 2020) 37-2020-00015064 (Sup. Ct. Cal.):

        Notice was provided to Class Members in compliance with the Settlement Agreement, California Code of Civil
        Procedure §382 and California Rules of Court 3.766 and 3.769, the California and United States Constitutions,
        and any other applicable law, and constitutes the best notice practicable under the circumstances, by
        providing notice to all individual Class Members who could be identified through reasonable effort, and by
        providing due and adequate notice of the proceedings and of the matters set forth therein to the other Class
        Members. The Notice fully satisfied the requirements of due process.

Judge Catherine D. Perry, Pirozzi, et al. v. Massage Envy Franchising, LLC (Nov. 13, 2020) 4:19-cv-807 (E.D. Mo.):

        The COURT hereby finds that the CLASS NOTICE given to the CLASS: (i) fairly and accurately described the
        ACTION and the proposed SETTLEMENT; (ii) provided sufficient information so that the CLASS MEMBERS
        were able to decide whether to accept the benefits offered by the SETTLEMENT, exclude themselves from
        the SETTLEMENT, or object to the SETTLEMENT; (iii) adequately described the time and manner by which
        CLASS MEMBERS could submit a CLAIM under the SETTLEMENT, exclude themselves from the
        SETTLEMENT, or object to the SETTLEMENT and/or appear at the FINAL APPROVAL HEARING; and (iv)
        provided the date, time, and place of the FINAL APPROVAL HEARING. The COURT hereby finds that the
        CLASS NOTICE was the best notice practicable under the circumstances, constituted a reasonable manner
        of notice to all class members who would be bound by the SETTLEMENT, and complied fully with Federal
        Rule of Civil Procedure Rule 23, due process, and all other applicable laws.

Judge Robert E. Payne, Skochin, et al. v. Genworth Life Insurance Company, et al. (Nov. 12, 2020) 3:19-cv-00049 (E.D. Vir.):

        For the reasons set forth in the Court’s Memorandum Opinion addressing objections to the Settlement
        Agreement, . . . the plan to disseminate the Class Notice and Publication Notice, which the Court previously
        approved, has been implemented and satisfied the requirements of Fed. R. Civ. P. 23(c)(2)(B) and due
        process.

Judge Jeff Carpenter, Eastwood Construction LLC, et al. v. City of Monroe (Oct. 27, 2020) 18-cvs-2692 and The Estate
of Donald Alan Plyler Sr., et al. v. City of Monroe (Oct. 27, 2020) 19-cvs-1825 (Sup. Ct. N.C.):

        Therefore, the Court GRANTS the Final Approval Motion, CERTIFIES the class as defined below for
        settlement purposes only, APPROVES the Settlement, and GRANTS the Fee Motion…

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        The Settlement Agreement and the Settlement Notice are found to be fair, reasonable, adequate, and in the
        best interests of the Settlement Class, and are hereby approved pursuant to North Carolina Rule of Civil
        Procedure 23. The Parties are hereby authorized and directed to comply with and to consummate the
        Settlement Agreement in accordance with the terms and provisions set forth in the Settlement Agreement,
        and the Clerk of the Court is directed to enter and docket this Order and Final Judgement in the Actions.

Judge M. James Lorenz, Walters, et al. v. Target Corp. (Oct. 26, 2020) 3:16-cv-1678 (S.D. Cal.):

        The Court has determined that the Class Notices given to Settlement Class members fully and accurately
        informed Settlement Class members of all material elements of the proposed Settlement and constituted valid,
        due, and sufficient notice to Settlement Class members consistent with all applicable requirements. The Court
        further finds that the Notice Program satisfies due process and has been fully implemented.

Judge Maren E. Nelson, Harris, et al. v. Farmers Insurance Exchange and Mid Century Insurance Company (Oct. 26,
2020) BC 579498 (Sup. Ct Cal.):

        Distribution of Notice directed to the Settlement Class Members as set forth in the Settlement has been
        completed in conformity with the Preliminary Approval Order, including individual notice to all Settlement Class
        members who could be identified through reasonable effort, and the best notice practicable under the
        circumstances. The Notice, which reached 99.9% of all Settlement Class Members, provided due and
        adequate notice of the proceedings and of the matters set forth therein, including the proposed Settlement,
        to all persons entitled to Notice, and the Notice and its distribution fully satisfied the requirements of due
        process.

Judge Vera M. Scanlon, Lashambae v. Capital One Bank, N.A. (Oct. 21, 2020) 1:17-cv-06406 (E.D.N.Y.):

        The Class Notice, as amended, contained all of the necessary elements, including the class definition, the
        identifies of the named Parties and their counsel, a summary of the terms of the proposed Settlement,
        information regarding the manner in which objections may be submitted, information regarding the opt-out
        procedures and deadlines, and the date and location of the Final Approval Hearing. Notice was successfully
        delivered to approximately 98.7% of the Settlement Class and only 78 individual Settlement Class Members
        did not receive notice by email or first class mail.

        Having reviewed the content of the Class Notice, as amended, and the manner in which the Class Notice was
        disseminated, this Court finds that the Class Notice, as amended, satisfied the requirements of due process,
        Rule 23 of the Federal Rules of Civil Procedure, and all other applicable law and rules. The Class Notice, as
        amended, provided to the Settlement Class in accordance with the Preliminary Approval Order was the best
        notice practicable under the circumstances and provided this Court with jurisdiction over the absent
        Settlement Class Members. See Fed. R. Civ. P. 23(c)(2)(B).

Chancellor Walter L. Evans, K.B., by and through her natural parent, Jennifer Qassis, and Lillian Knox-Bender v.
Methodist Healthcare - Memphis Hospitals (Oct. 14, 2020) CH-13-04871-1 (30th Jud. Dist. Tenn.):

        Based upon the filings and the record as a whole, the Court finds and determines that dissemination of the
        Class Notice as set forth herein complies with Tenn. R. Civ. P. 23.03(3) and 23.05 and (i) constitutes the best
        practicable notice under the circumstances, (ii) was reasonably calculated, under the circumstances, to
        apprise Class Members of the pendency of Class Settlement, their rights to object to the proposed Settlement,
        (iii) was reasonable and constitutes due, adequate, and sufficient notice to all persons entitled to receive
        notice, (iv) meets all applicable requirements of Due Process; (v) and properly provides notice of the attorney’s
        fees that Class Counsel shall seek in this action. As a result, the Court finds that Class Members were
        properly notified of their rights, received full Due Process . . . .

Judge Sara L. Ellis, Nelson v. Roadrunner Transportation Systems, Inc. (Sept. 15, 2020) 1:18-cv-07400 (N.D. Ill.):

        Notice of the Final Approval Hearing, the proposed motion for attorneys’ fees, costs, and expenses, and the
        proposed Service Award payment to Plaintiff have been provided to Settlement Class Members as directed
        by this Court’s Orders,

        The Court finds that such Notice as therein ordered, constitutes the best possible notice practicable under the
        circumstances and constitutes valid, due, and sufficient notice to all Settlement Class Members in compliance
        with the requirements of Federal Rule of Civil Procedure 23(c)(2)(B).

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Judge George H. Wu, Lusnak v. Bank of America, N.A. (Aug. 10, 2020) CV 14-1855 (C.D. Cal.):

        The Court finds that the Notice program for disseminating notice to the Settlement Class, provided for in the
        Settlement Agreement and previously approved and directed by the Court, has been implemented by the
        Settlement Administrator and the Parties. The Court finds that such Notice program, including the approved
        forms of notice: (a) constituted the best notice that is practicable under the circumstances; (b) included direct
        individual notice to all Settlement Class Members who could be identified through reasonable effort; (c)
        constituted notice that was reasonably calculated, under the circumstances, to apprise Settlement Class
        Members of the nature of the Lawsuit, the definition of the Settlement Class certified, the class claims and
        issues, the opportunity to enter an appearance through an attorney if the member so desires; the opportunity,
        the time, and manner for requesting exclusion from the Settlement Class, and the binding effect of a class
        judgment; (d) constituted due, adequate and sufficient notice to all persons entitled to notice; and (e) met all
        applicable requirements of Federal Rule of Civil Procedure 23, due process under the U.S. Constitution, and
        any other applicable law.

Judge James Lawrence King, Dasher v. RBC Bank (USA) predecessor in interest to PNC Bank, N.A. (Aug. 10, 2020) 1:10-
cv-22190 (S.D. Fla.) as part of In re: Checking Account Overdraft Litigation MDL No. 2036 (S.D. Fla.):

        The Court finds that the members of the Settlement Class were provided with the best practicable notice; the
        notice was “reasonably calculated, under [the] circumstances, to apprise interested parties of the pendency
        of the action and afford them an opportunity to present their objections.” Shutts, 472 U.S. at 812 (quoting
        Mullane, 339 U.S. at 314-15). This Settlement was widely publicized, and any member of the Settlement Class
        who wished to express comments or objections had ample opportunity and means to do so.

Judge Jeffrey S. Ross, Lehman v. Transbay Joint Powers Authority, et al. (Aug. 7, 2020) CGC-16-553758 (Sup. Ct. Cal.):

        The Notice approved by this Court was distributed to the Settlement Class Members in compliance with this
        Court’s Order Granting Preliminary Approval of Class Action Settlement, dated May 8, 2020. The Notice
        provided to the Settlement Class Members met the requirements of due process and constituted the best
        notice practicable in the circumstances. Based on evidence and other material submitted in conjunction with
        the final approval hearing, notice to the class was adequate.

Judge Jean Hoefer Toal, Cook, et al. v. South Carolina Public Service Authority, et al. (July 31, 2020) 2019-CP-23-
6675 (Ct. of Com. Pleas. 13th Jud. Cir. S.C.):

        Notice was sent to more than 1.65 million Class members, published in newspapers whose collective
        circulation covers the entirety of the State, and supplemented with internet banner ads totaling approximately
        12.3 million impressions. The notices directed Class members to the settlement website and toll-free line for
        additional inquiries and further information. After this extensive notice campaign, only 78 individuals
        (0.0047%) have opted-out, and only nine (0.00054%) have objected. The Court finds this response to be
        overwhelmingly favorable.

Judge Peter J. Messitte, Jackson, et al. v. Viking Group, Inc., et al. (July 28, 2020) 8:18-cv-02356 (D. Md.):

        [T]he Court finds, that the Notice Plan has been implemented in the manner approved by the Court in its
        Preliminary Approval Order as amended. The Court finds that the Notice Plan: (i) constitutes the best notice
        practicable to the Settlement Class under the circumstances; (ii) was reasonably calculated, under the
        circumstances, to apprise the Settlement Class of the pendency of this Lawsuit and the terms of the
        Settlement, their right to exclude themselves from the Settlement, or to object to any part of the Settlement,
        their right to appear at the Final Approval Hearing (either on their own or through counsel hired at their own
        expense), and the binding effect of the Final Approval Order and the Final Judgment, whether favorable or
        unfavorable, on all Persons who do not exclude themselves from the Settlement Class, (iii) due, adequate,
        and sufficient notice to all Persons entitled to receive notice; and (iv) notice that fully satisfies the requirements
        of the United States Constitution (including the Due Process Clause), Fed. R. Civ. P. 23, and any other
        applicable law.

Judge Michael P. Shea, Grayson, et al. v. General Electric Company (July 27, 2020) 3:13-cv-01799 (D. Conn.):

        Pursuant to the Preliminary Approval Order, the Settlement Notice was mailed, emailed and disseminated by
        the other means described in the Settlement Agreement to the Class Members. This Court finds that this
        notice procedure was (i) the best practicable notice; (ii) reasonably calculated, under the circumstances, to

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        apprise the Class Members of the pendency of the Civil Action and of their right to object to or exclude
        themselves from the proposed Settlement; and (iii) reasonable and constitutes due, adequate, and sufficient
        notice to all entities and persons entitled to receive notice.

Judge Gerald J. Pappert, Rose v. The Travelers Home and Marine Insurance Company, et al. (July 20, 2020) 19-cv-
00977 (E.D. Pa.):

        The Class Notice . . . has been given to the Settlement Class in the manner approved by the Court in its
        Preliminary Approval Order. Such Class Notice (i) constituted the best notice practicable to the Settlement
        Class under the circumstances; (ii) was reasonably calculated, under the circumstances, to apprise the
        Settlement Class of the pendency and nature of this Action, the definition of the Settlement Class, the terms
        of the Settlement Agreement, the rights of the Settlement Class to exclude themselves from the settlement or
        to object to any part of the settlement, the rights of the Settlement Class to appear at the Final Approval
        Hearing (either on their own or through counsel hired at their own expense), and the binding effect of the
        Settlement Agreement on all persons who do not exclude themselves from the Settlement Class, (iii) provided
        due, adequate, and sufficient notice to the Settlement Class; and (iv) fully satisfied all applicable requirements
        of law, including, but not limited to, Federal Rule of Civil Procedure 23 and the due process requirements of
        the United States Constitution.

Judge Christina A. Snyder, Waldrup v. Countrywide Financial Corporation, et al. (July 16, 2020) 2:13-cv-08833 (C.D. Cal.):

        The Court finds that mailed and publication notice previously given to Class Members in the Action was the
        best notice practicable under the circumstances, and satisfies the requirements of due process and FED. R.
        CIV. P. 23. The Court further finds that, because (a) adequate notice has been provided to all Class Members
        and (b) all Class Members have been given the opportunity to object to, and/or request exclusion from, the
        Settlement, it has jurisdiction over all Class Members. The Court further finds that all requirements of statute
        (including but not limited to 28 U.S.C. § 1715), rule, and state and federal constitutions necessary to effectuate
        this Settlement have been met and satisfied.

Judge James Donato, Coffeng, et al. v. Volkswagen Group of America, Inc. (June 10, 2020) 17-cv-01825 (N.D. Cal.):

        The Court finds that, as demonstrated by the Declaration and Supplemental Declaration of Cameron Azari,
        and counsel’s submissions, Notice to the Settlement Class was timely and properly effectuated in accordance
        with FED. R. CIV. P. 23(e) and the approved Notice Plan set forth in the Court’s Preliminary Approval Order.
        The Court finds that said Notice constitutes the best notice practicable under the circumstances, and satisfies
        all requirements of Rule 23(e) and due process.

Judge Michael W. Fitzgerald, Behfarin v. Pruco Life Insurance Company, et al. (June 3, 2020) 17-cv-05290 (C.D. Cal.):

        The Court finds that the requirements of Rule 23 of the Federal Rule of Civil Procedure and other laws and
        rules applicable to final settlement approval of class actions have been satisfied . . . .

        This Court finds that the Claims Administrator caused notice to be disseminated to the Class in accordance
        with the plan to disseminate Notice outlined in the Settlement Agreement and the Preliminary Approval Order,
        and that Notice was given in an adequate and sufficient manner and complies with Due Process and Fed. R.
        Civ. P. 23.

Judge Nancy J. Rosenstengel, First Impressions Salon, Inc., et al. v. National Milk Producers Federation, et al. (Apr. 27, 2020)
3:13-cv-00454 (S.D. Ill.):

        The Court finds that the Notice given to the Class Members was completed as approved by this Court and
        complied in all respects with the requirements of Rule 23 of the Federal Rules of Civil Procedure and due
        process. The settlement Notice Plan was modeled on and supplements the previous court-approved plan
        and, having been completed, constitutes the best notice practicable under the circumstances. In making this
        determination, the Court finds that the Notice provided Class members due and adequate notice of the
        Settlement, the Settlement Agreement, the Plan of Distribution, these proceedings, and the rights of Class
        members to opt-out of the Class and/or object to Final Approval of the Settlement, as well as Plaintiffs’ Motion
        requesting attorney fees, costs, and Class Representative service awards.




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Judge Harvey Schlesinger, In re: Disposable Contact Lens Antitrust Litigation (CooperVision, Inc.) (Mar. 4, 2020) 3:15-md-
02626 (M.D. Fla.):

        The Court finds that the dissemination of the Notice: (a) was implemented in accordance with the Preliminary
        Approval Orders; (b) constitutes the best notice practicable under the circumstances; (c) constitutes notice
        that was reasonably calculated, under the circumstances, to apprise the Settlement Classes of (i) the
        pendency of the Action; (ii) the effect of the Settlement Agreements (including the Releases to the provided
        thereunder); (iii) Class Counsel’s possible motion for an award of attorneys’ fees and reimbursement of
        expenses; (iv) the right to object to any aspect of the Settlement Agreements, the Plan of Distribution, and/or
        Class Counsel’s motion for attorneys’ fees and reimbursement of expenses; (v) the right to opt out of the
        Settlement Classes; (vi) the right to appear at the Fairness Hearing; and (vii) the fact that Plaintiffs may receive
        incentive awards; (d) constitutes due, adequate, and sufficient notice to all persons and entities entitled to
        receive notice of the Settlement Agreement and (e) satisfies the requirements of Rule 23 of the Federal Rules
        of Civil Procedure and the United States Constitution (including the Due Process Clause).

Judge Amos L. Mazzant, Stone, et al. v. Porcelana Corona De Mexico, S.A. DE C.V f/k/a Sanitarios Lamosa S.A. DE C.V.
a/k/a Vortens (Mar. 3, 2020) 4:17-cv-00001 (E.D. Tex.):

        The Court has reviewed the Notice Plan and its implementation and efficacy, and finds that it constituted the
        best notice practicable under the circumstances and was reasonably calculated, under the circumstances, to
        apprise Settlement Class Members of the pendency of the Action and their right to object to the proposed
        settlement in full compliance with the requirements of applicable law, including the Due Process Clause of the
        United States Constitution and Rules 23(c) and (e) of the Federal Rules of Civil Procedure.

        In addition, Class Notice clearly and concisely stated in plain, easily understood language: (i) the nature of
        the action; (ii) the definition of the certified Equitable Relief Settlement Class; (iii) the claims and issues of the
        Equitable Relief Settlement Class; (iv) that a Settlement Class Member may enter an appearance through an
        attorney if the member so desires; (v) the binding effect of a class judgment on members under Fed. R. Civ.
        P. 23(c)(3).

Judge Michael H. Simon, In re: Premera Blue Cross Customer Data Security Breach Litigation (Mar. 2, 2020) 3:15-md-
2633 (D. Ore.):

        The Court confirms that the form and content of the Summary Notice, Long Form Notice, Publication Notice,
        and Claim Form, and the procedure set forth in the Settlement for providing notice of the Settlement to the
        Class, were in full compliance with the notice requirements of Federal Rules of Civil Procedure 23(c)(2)(B)
        and 23(e), fully, fairly, accurately, and adequately advised members of the Class of their rights under the
        Settlement, provided the best notice practicable under the circumstances, fully satisfied the requirements of
        due process and Rule 23 of the Federal Rules of Civil Procedure, and afforded Class Members with adequate
        time and opportunity to file objections to the Settlement and attorney’s fee motion, submit Requests for
        Exclusion, and submit Claim Forms to the Settlement Administrator.

Judge Maxine M. Chesney, McKinney-Drobnis, et al. v. Massage Envy Franchising (Mar. 2, 2020) 3:16-cv-6450 (N.D. Cal.):

        The COURT hereby finds that the individual direct CLASS NOTICE given to the CLASS via email or First
        Class U.S. Mail (i) fairly and accurately described the ACTION and the proposed SETTLEMENT; (ii) provided
        sufficient information so that the CLASS MEMBERS were able to decide whether to accept the benefits
        offered by the SETTLEMENT, exclude themselves from the SETTLEMENT, or object to the SETTLEMENT;
        (iii) adequately described the manner in which CLASS MEMBERS could submit a VOUCHER REQUEST
        under the SETTLEMENT, exclude themselves from the SETTLEMENT, or object to the SETTLEMENT and/or
        appear at the FINAL APPROVAL HEARING; and (iv) provided the date, time, and place of the FINAL
        APPROVAL HEARING. The COURT hereby finds that the CLASS NOTICE was the best notice practicable
        under the circumstances and complied fully with Federal Rule of Civil Procedure Rule 23, due process, and
        all other applicable laws.

Judge Harry D. Leinenweber, Albrecht v. Oasis Power, LLC d/b/a Oasis Energy (Feb. 6, 2020) 1:18-cv-1061 (N.D. Ill.):

        The Court finds that the distribution of the Class Notice, as provided for in the Settlement Agreement, (i)
        constituted the best practicable notice under the circumstances to Settlement Class Members, (ii) constituted
        notice that was reasonably calculated, under the circumstances, to apprise Settlement Class Members of,
        among other things, the pendency of the Action, the nature and terms of the proposed Settlement, their right

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        to object or to exclude themselves from the proposed Settlement, and their right to appear at the Final
        Approval Hearing, (iii) was reasonable and constituted due, adequate, and sufficient notice to all persons
        entitled to be provided with notice, and (iv) complied fully with the requirements of Fed. R. Civ. P. 23, the
        United States Constitution, the Rules of this Court, and any other applicable law.

        The Court finds that the Class Notice and methodology set forth in the Settlement Agreement, the Preliminary
        Approval Order, and this Final Approval Order (i) constitute the most effective and practicable notice of the
        Final Approval Order, the relief available to Settlement Class Members pursuant to the Final Approval Order,
        and applicable time periods; (ii) constitute due, adequate, and sufficient notice for all other purposes to all
        Settlement Class Members; and (iii) comply fully with the requirements of Fed. R. Civ. P. 23, the United States
        Constitution, the Rules of this Court, and any other applicable laws.

Judge Robert Scola, Jr., Wilson, et al. v. Volkswagen Group of America, Inc., et al. (Jan. 28, 2020) 17-cv-23033 (S.D. Fla.):

        The Court finds that the Class Notice, in the form approved by the Court, was properly disseminated to the
        Settlement Class pursuant to the Notice Plan and constituted the best practicable notice under the
        circumstances. The forms and methods of the Notice Plan approved by the Court met all applicable
        requirements of the Federal Rules of Civil Procedure, the United States Code, the United States Constitution
        (including the Due Process Clause), and any other applicable law.

Judge Michael Davis, Garcia v. Target Corporation (Jan. 27, 2020) 16-cv-02574 (D. Minn.):

        The Court finds that the Notice Plan set forth in Section 4 of the Settlement Agreement and effectuated
        pursuant to the Preliminary Approval Order constitutes the best notice practicable under the circumstances
        and shall constitute due and sufficient notice to the Settlement Class of the pendency of this case, certification
        of the Settlement Class for settlement purposes only, the terms of the Settlement Agreement, and the Final
        Approval Hearing, and satisfies the requirements of the Federal Rules of Civil Procedure, the United States
        Constitution, and any other applicable law.

Judge Bruce Howe Hendricks, In re: TD Bank, N.A. Debit Card Overdraft Fee Litigation (Jan. 9, 2020) MDL No. 2613, 6:15-
MN-02613 (D.S.C.):

        The Classes have been notified of the settlement pursuant to the plan approved by the Court. After having
        reviewed the Declaration of Cameron R. Azari (ECF No. 220-1) and the Supplemental Declaration of Cameron
        R. Azari (ECF No. 225-1), the Court hereby finds that notice was accomplished in accordance with the Court’s
        directives. The Court further finds that the notice program constituted the best practicable notice to the
        Settlement Classes under the circumstances and fully satisfies the requirements of due process and Federal
        Rule 23.

Judge Margo K. Brodie, In re: Payment Card Interchange Fee and Merchant Discount Antitrust Litigation (Dec. 13,
2019) MDL No. 1720, 05-md-1720 (E.D.N.Y.):

        The notice and exclusion procedures provided to the Rule 23(b)(3) Settlement Class, including but not limited
        to the methods of identifying and notifying members of the Rule 23(b)(3) Settlement Class, were fair,
        adequate, and sufficient, constituted the best practicable notice under the circumstances, and were
        reasonably calculated to apprise members of the Rule 23(b)(3) Settlement Class of the Action, the terms of
        the Superseding Settlement Agreement, and their objection rights, and to apprise members of the Rule
        23(b)(3) Settlement Class of their exclusion rights, and fully satisfied the requirements of Rule 23 of the
        Federal Rules of Civil Procedure, any other applicable laws or rules of the Court, and due process.

Judge Steven Logan, Knapper v. Cox Communications, Inc. (Dec. 13, 2019) 2:17-cv-00913 (D. Ariz.):

        The Court finds that the form and method for notifying the class members of the settlement and its terms and
        conditions was in conformity with this Court’s Preliminary Approval Order (Doc. 120). The Court further finds
        that the notice satisfied due process principles and the requirements of Federal Rule of Civil Procedure 23(c),
        and the Plaintiff chose the best practicable notice under the circumstances. The Court further finds that the
        notice was clearly designed to advise the class members of their rights.




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Judge Manish Shah, Prather v. Wells Fargo Bank, N.A. (Dec. 10, 2019) 1:17-cv-00481 (N.D. Ill.):

         The Court finds that the Notice Plan set forth in Section VIII of the Settlement Agreement and effectuated
         pursuant to the Preliminary Approval Order constitutes the best notice practicable under the circumstances
         and shall constitute due and sufficient notice to the Settlement Class of the pendency of this case, certification
         of the Settlement Class for settlement purposes only, the terms of the Settlement Agreement, and the Final
         Approval Hearing, and satisfies the requirements of the Federal Rules of Civil Procedure, the United States
         Constitution, and any other applicable law.

Judge Liam O’Grady, Liggio v. Apple Federal Credit Union (Dec. 6, 2019) 1:18-cv-01059 (E.D. Vir.):

         The Court finds that the manner and form of notice (the “Notice Plan”) as provided for in the this Court’s July 2,
         2019 Order granting preliminary approval of class settlement, and as set forth in the Parties’ Settlement Agreement
         was provided to Settlement Class Members by the Settlement Administrator. . . The Notice Plan was reasonably
         calculated to give actual notice to Settlement Class Members of the right to receive benefits from the Settlement,
         and to be excluded from or object to the Settlement. The Notice Plan met the requirements of Rule 23(c)(2)(B) and
         due process and constituted the best notice practicable under the circumstances.

Judge Brian McDonald, Armon, et al. v. Washington State University (Nov. 8, 2019) 17-2-23244-1 (consolidated with 17-
2-25052-0) (Sup. Ct. Wash.):

         The Court finds that the Notice Program, as set forth in the Settlement and effectuated pursuant to the Preliminary
         Approval Order, satisfied CR 23(c)(2), was the best Notice practicable under the circumstances, was reasonably
         calculated to provide-and did provide-due and sufficient Notice to the Settlement Class of the pendency of the
         Litigation; certification of the Settlement Class for settlement purposes only; the existence and terms of the
         Settlement; the identity of Class Counsel and appropriate information about Class Counsel’s then-forthcoming
         application for attorneys’ fees and incentive awards to the Class Representatives; appropriate information about
         how to participate in the Settlement; Settlement Class Members’ right to exclude themselves; their right to object
         to the Settlement and to appear at the Final Approval Hearing, through counsel if they desired; and appropriate
         instructions as to how to obtain additional information regarding this Litigation and the Settlement. In addition,
         pursuant to CR 23(c)(2)(B), the Notice properly informed Settlement Class Members that any Settlement Class
         Member who failed to opt-out would be prohibited from bringing a lawsuit against Defendant based on or related
         to any of the claims asserted by Plaintiffs, and it satisfied the other requirements of the Civil Rules.

Judge Andrew J. Guilford, In re: Wells Fargo Collateral Protection Insurance Litigation (Nov. 4, 2019) 8:17-ml-02797 (C.D. Cal.):

         Epiq Class Action & Claims Solutions, Inc. (“Epiq”), the parties’ settlement administrator, was able to deliver the
         court-approved notice materials to all class members, including 2,254,411 notice packets and 1,019,408 summary
         notices.

Judge Paul L. Maloney, Burch v. Whirlpool Corporation (Oct. 16, 2019) 1:17-cv-00018 (W.D. Mich.):

         [T]he Court hereby finds and concludes that members of the Settlement Class have been provided the best
         notice practicable of the Settlement and that such notice satisfies all requirements of federal and applicable
         state laws and due process.

Judge Gene E.K. Pratter, Tashica Fulton-Green, et al. v. Accolade, Inc. (Sept. 24, 2019) 2:18-cv-00274 (E.D. Pa.):

         The Court finds that such Notice as therein ordered, constitutes the best possible notice practicable under the
         circumstances and constitutes valid, due, and sufficient notice to all Settlement Class Members in compliance
         with the requirements of Federal Rule of Civil Procedure 23(c)(2)(B).

Judge Edwin Torres, Burrow, et al. v. Forjas Taurus S.A., et al. (Sept. 6, 2019) 1:16-cv-21606 (S.D. Fla.):

         Because the Parties complied with the agreed-to notice provisions as preliminarily approved by this Court,
         and given that there are no developments or changes in the facts to alter the Court’s previous conclusion, the
         Court finds that the notice provided in this case satisfied the requirements of due process and of Rule
         23(c)(2)(B).




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Judge Amos L. Mazzant, Fessler v. Porcelana Corona De Mexico, S.A. DE C.V f/k/a Sanitarios Lamosa S.A. DE C.V. a/k/a
Vortens (Aug. 30, 2019) 4:19-cv-00248 (E.D. Tex.):

        The Court has reviewed the Notice Plan and its implementation and efficacy, and finds that it constituted the
        best notice practicable under the circumstances and was reasonably calculated, under the circumstances, to
        apprise Settlement Class Members of the pendency of the Action and their right to object to the proposed
        settlement or opt out of the Settlement Class in full compliance with the requirements of applicable law,
        including the Due Process Clause of the United States Constitution and Rules 23(c) and (e) of the Federal
        Rules of Civil Procedure.

        In addition, Class Notice clearly and concisely stated in plain, easily understood language: (i) the nature of
        the action; (ii) the definition of the certified 2011 Settlement Class; (iii) the claims and issues of the 2011
        Settlement Class; (iv) that a Settlement Class Member may enter an appearance through an attorney if the
        member so desires; (v) that the Court will exclude from the Settlement Class any member who requests
        exclusions; (vi) the time and manner for requesting exclusion; and (vii) the binding effect of a class judgment
        on members under Fed. R. Civ. P. 23(c)(3).

Judge Karon Owen Bowdre, In re: Community Health Systems, Inc. Customer Data Security Breach Litigation (Aug. 22,
2019) MDL No. 2595, 2:15-cv-222 (N.D. Ala.):

        The court finds that the Notice Program: (1) satisfied the requirements of Fed. R. Civ. P. 23(c)(2)(B) and due
        process; (2) was the best practicable notice under the circumstances; (3) reasonably apprised Settlement
        Class members of the pendency of the Action and their right to object to the settlement or opt-out of the
        Settlement Class; and (4) was reasonable and constituted due, adequate and sufficient notice to all persons
        entitled to receive notice. Approximately 90% of the 6,081,189 individuals identified as Settlement Class
        members received the Initial Postcard Notice of this Settlement Action.

        The court further finds, pursuant to Fed. R. Civ. P. 23(c)(2)(B), that the Class Notice adequately informed
        Settlement Class members of their rights with respect to this action.

Judge Christina A. Snyder, Zaklit, et al. v. Nationstar Mortgage LLC, et al. (Aug. 21, 2019) 5:15-cv-02190 (C.D. Cal.):

        The Class Notice provided to the Settlement Class conforms with the requirements of Fed. Rule Civ. Proc.
        23, the California and United States Constitutions, and any other applicable law, and constitutes the best
        notice practicable under the circumstances, by providing individual notice to all Settlement Class Members
        who could be identified through reasonable effort, and by providing due and adequate notice of the
        proceedings and of the matters set forth therein to the other Settlement Class Members. The notice fully
        satisfied the requirements of Due Process. No Settlement Class Members have objected to the terms of the
        Settlement.

Judge Brian M. Cogan, Luib v. Henkel Consumer Goods Inc. (Aug. 19, 2019) 1:17-cv-03021 (E.D.N.Y.):

        The Court finds that the Notice Plan, set forth in the Settlement Agreement and effectuated pursuant to the
        Preliminary Approval Order: (i) was the best notice practicable under the circumstances; (ii) was reasonably
        calculated to provide, and did provide, due and sufficient notice to the Settlement Class regarding the
        existence and nature of the Action, certification of the Settlement Class for settlement purposes only, the
        existence and terms of the Settlement Agreement, and the rights of Settlement Class members to exclude
        themselves from the Settlement Agreement, to object and appear at the Final Approval Hearing, and to
        receive benefits under the Settlement Agreement; and (iii) satisfied the requirements of the Federal Rules of
        Civil Procedure, the United States Constitution, and all other applicable law.

Judge Yvonne Gonzalez Rogers, In re: Lithium Ion Batteries Antitrust Litigation (Aug. 16, 2019) 4:13-md-02420
MDL No. 2420 (N.D. Cal.):

        The proposed notice plan was undertaken and carried out pursuant to this Court’s preliminary approval order.
        [T]he notice program reached approximately 87 percent of adults who purchased portable computers, power
        tools, camcorders, or replacement batteries, and these class members were notified an average of 3.5 times
        each. As a result of Plaintiffs’ notice efforts, in total, 1,025,449 class members have submitted claims. That
        includes 51,961 new claims, and 973,488 claims filed under the prior settlements.



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Judge Jon Tigar, McKnight, et al. v. Uber Technologies, Inc., et al. (Aug. 13, 2019) 3:14-cv-05615 (N.D. Cal.):

        The settlement administrator, Epiq Systems, Inc., carried out the notice procedures as outlined in the
        preliminary approval. ECF No. 162 at 17-18. Notices were mailed to over 22 million class members with a
        success rate of over 90%. Id. at 17. Epiq also created a website, banner ads, and a toll free number. Id. at
        17-18. Epiq estimates that it reached through mail and other formats 94.3% of class members. ECF No. 164
        ¶ 28. In light of these actions, and the Court’s prior order granting preliminary approval, the Court finds that
        the parties have provided adequate notice to class members.

Judge Gary W.B. Chang, Robinson v. First Hawaiian Bank (Aug. 8, 2019) 17-1-0167-01 (Cir. Ct. of First Cir. Haw.):

        This Court determines that the Notice Program satisfies all of the due process requirements for a class action
        settlement.

Judge Karin Crump, Hyder, et al. v. Consumers County Mutual Insurance Company (July 30, 2019) D-1-GN-16-000596
(D. Ct. of Travis County Tex.):

        Due and adequate Notice of the pendency of this Action and of this Settlement has been provided to members
        of the Settlement Class, and this Court hereby finds that the Notice Plan described in the Preliminary Approval
        Order and completed by Defendant complied fully with the requirements of due process, the Texas Rules of
        Civil Procedure, and the requirements of due process under the Texas and United States Constitutions, and
        any other applicable laws.

Judge Wendy Bettlestone, Underwood v. Kohl's Department Stores, Inc., et al. (July 24, 2019) 2:15-cv-00730 (E.D. Pa.):

        The Notice, the contents of which were previously approved by the Court, was disseminated in accordance
        with the procedures required by the Court's Preliminary Approval Order in accordance with applicable law.

Judge Andrew G. Ceresia, J.S.C., Denier, et al. v. Taconic Biosciences, Inc. (July 15, 2019) 00255851 (Sup Ct. N.Y.):

        The Court finds that such Notice as therein ordered, constitutes the best possible notice practicable under the
        circumstances and constitutes valid, due, and sufficient notice to all Settlement Class Members in compliance
        with the requirements of the CPLR.

Judge Vince G. Chhabria, Parsons v. Kimpton Hotel & Restaurant Group, LLC (July 11, 2019) 3:16-cv-05387 (N.D. Cal.):

        Pursuant to the Preliminary Approval Order, the notice documents were sent to Settlement Class Members
        by email or by first-class mail, and further notice was achieved via publication in People magazine, internet
        banner notices, and internet sponsored search listings. The Court finds that the manner and form of notice
        (the “Notice Program”) set forth in the Settlement Agreement was provided to Settlement Class Members.
        The Court finds that the Notice Program, as implemented, was the best practicable under the circumstances.
        The Notice Program was reasonably calculated under the circumstances to apprise the Settlement Class of
        the pendency of the Action, class certification, the terms of the Settlement, and their rights to opt-out of the
        Settlement Class and object to the Settlement, Class Counsel’s fee request, and the request for Service
        Award for Plaintiff. The Notice and Notice Program constituted sufficient notice to all persons entitled to notice.
        The Notice and Notice Program satisfy all applicable requirements of law, including, but not limited to, Federal
        Rule of Civil Procedure 23 and the constitutional requirement of due process.

Judge Daniel J. Buckley, Adlouni v. UCLA Health Systems Auxiliary, et al. (June 28, 2019) BC589243 (Sup. Ct. Cal.):

        The Court finds that the notice to the Settlement Class pursuant to the Preliminary Approval Order was
        appropriate, adequate, and sufficient, and constituted the best notice practicable under the circumstances to
        all Persons within the definition of the Settlement Class to apprise interested parties of the pendency of the
        Action, the nature of the claims, the definition of the Settlement Class, and the opportunity to exclude
        themselves from the Settlement Class or present objections to the settlement. The notice fully complied with
        the requirements of due process and all applicable statutes and laws and with the California Rules of Court.




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Judge John C. Hayes III, Lightsey, et al. v. South Carolina Electric & Gas Company, a Wholly Owned Subsidiary of SCANA,
et al. (June 11, 2019) 2017-CP-25-335 (Ct. of Com. Pleas., S.C.):

        These multiple efforts at notification far exceed the due process requirement that the class representative
        provide the best practical notice. See Eisen v. Carlisle & Jacquelin, 417 U.S. 156, 94 S.Ct. 2140 (1974);
        Hospitality Mgmt. Assoc., Inc. v. Shell Oil, Inc., 356 S.C. 644, 591 S.E.2d 611 (2004). Following this extensive
        notice campaign reaching over 1.6 million potential class member accounts, Class counsel have received just
        two objections to the settlement and only 24 opt outs.

Judge Stephen K. Bushong, Scharfstein v. BP West Coast Products, LLC (June 4, 2019) 1112-17046 (Ore. Cir., County
of Multnomah):

        The Court finds that the Notice Plan was effected in accordance with the Preliminary Approval and Notice
        Order, dated March 26, 2019, was made pursuant to ORCP 32 D, and fully met the requirements of the
        Oregon Rules of Civil Procedure, due process, the United States Constitution, the Oregon Constitution, and
        any other applicable law.

Judge Cynthia Bashant, Lloyd, et al. v. Navy Federal Credit Union (May 28, 2019) 17-cv-1280 (S.D. Cal.):

        This Court previously reviewed, and conditionally approved Plaintiffs’ class notices subject to certain
        amendments. The Court affirms once more that notice was adequate.

Judge Robert W. Gettleman, Cowen v. Lenny & Larry's Inc. (May 2, 2019) 1:17-cv-01530 (N.D. Ill.):

        Notice to the Settlement Class and other potentially interested parties has been provided in accordance with the
        elements specified by the Court in the preliminary approval order. Adequate notice of the amended settlement and
        the final approval hearing has also been given. Such notice informed the Settlement Class members of all material
        elements of the proposed Settlement and of their opportunity to object or comment thereon or to exclude
        themselves from the Settlement; provided Settlement Class Members adequate instructions and a means to obtain
        additional information; was adequate notice under the circumstances; was valid, due, and sufficient notice to all
        Settlement Class [M]embers; and complied fully with the laws of the State of Illinois, Federal Rules of Civil
        Procedure, the United States Constitution, due process, and other applicable law.

Judge Edward J. Davila, In re: HP Printer Firmware Update Litigation (Apr. 25, 2019) 5:16-cv-05820 (N.D. Cal.):

        Due and adequate notice has been given of the Settlement as required by the Preliminary Approval Order.
        The Court finds that notice of this Settlement was given to Class Members in accordance with the Preliminary
        Approval Order and constituted the best notice practicable of the proceedings and matters set forth therein,
        including the Settlement, to all Persons entitled to such notice, and that this notice satisfied the requirements
        of Federal Rule of Civil Procedure 23 and of due process.

Judge Claudia Wilken, Naiman v. Total Merchant Services, Inc., et al. (Apr. 16, 2019) 4:17-cv-03806 (N.D. Cal.):

        The Court also finds that the notice program satisfied the requirements of Federal Rule of Civil Procedure 23
        and due process. The notice approved by the Court and disseminated by Epiq constituted the best practicable
        method for informing the class about the Final Settlement Agreement and relevant aspects of the litigation.

Judge Paul Gardephe, 37 Besen Parkway, LLC v. John Hancock Life Insurance Company (U.S.A.) (Mar. 31, 2019) 15-cv-
9924 (S.D.N.Y.):

        The Notice given to Class Members complied in all respects with the requirements of Rule 23 of the Federal Rules
        of Civil Procedure and due process and provided due and adequate notice to the Class.

Judge Alison J. Nathan, Pantelyat, et al. v. Bank of America, N.A., et al. (Jan. 31, 2019) 16-cv-08964 (S.D.N.Y.):

        The Class Notice provided to the Settlement Class in accordance with the Preliminary Approval Order was
        the best notice practicable under the circumstances, and constituted due and sufficient notice of the
        proceedings and matters set forth therein, to all persons entitled to notice. The notice fully satisfied the
        requirements of due process, Rule 23 of the Federal Rules of Civil Procedure, and all other applicable law
        and rules.


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Judge Kenneth M. Hoyt, Al's Pals Pet Card, LLC, et al. v. Woodforest National Bank, N.A., et al. (Jan. 30, 2019) 4:17-cv-
3852 (S.D. Tex.):

        [T]he Court finds that the class has been notified of the Settlement pursuant to the plan approved by the Court.
        The Court further finds that the notice program constituted the best practicable notice to the class under the
        circumstances and fully satisfies the requirements of due process, including Fed. R. Civ. P. 23(e)(1) and 28 U.S.C.
        § 1715.

Judge Robert M. Dow, Jr., In re: Dealer Management Systems Antitrust Litigation (Jan. 23, 2019) MDL No. 2817, 18-
cv-00864 (N.D. Ill.):

        The Court finds that the Settlement Administrator fully complied with the Preliminary Approval Order and that
        the form and manner of providing notice to the Dealership Class of the proposed Settlement with Reynolds
        was the best notice practicable under the circumstances, including individual notice to all members of the
        Dealership Class who could be identified through the exercise of reasonable effort. The Court further finds
        that the notice program provided due and adequate notice of these proceedings and of the matters set forth
        therein, including the terms of the Agreement, to all parties entitled to such notice and fully satisfied the
        requirements of Rule 23 of the Federal Rules of Civil Procedure, 28 U.S.C. § 1715(b), and constitutional due
        process.

Judge Federico A. Moreno, In re: Takata Airbag Products Liability Litigation (Ford) (Dec. 20, 2018) MDL No. 2599
(S.D. Fla.):

        The record shows and the Court finds that the Class Notice has been given to the Class in the manner
        approved by the Court in its Preliminary Approval Order. The Court finds that such Class Notice: .(i) is
        reasonable and constitutes the best practicable notice to Class Members under the circumstances; (ii)
        constitutes notice that was reasonably calculated, under the circumstances, to apprise Class Members of the
        pendency of the Action and the terms of the Settlement Agreement, their right to exclude themselves from the
        Class or to object to all or any part of the Settlement Agreement, their right to appear at the Fairness Hearing
        (either on their own or through counsel hired at their own expense) and the binding effect of the orders and
        Final Order and Final Judgment in the Action, whether favorable or unfavorable, on all persons and entities
        who or which do not exclude themselves from the Class; (iii) constitutes due, adequate, and sufficient notice
        to all persons or entities entitled to receive notice; and (iv) fully satisfied the requirements of the United States
        Constitution (including the Due Process Clause), FED. R. Civ. P. 23 and any other applicable law as well as
        complying with the Federal Judicial Center's illustrative class action notices.

Judge Herndon, Hale v. State Farm Mutual Automobile Insurance Company, et al. (Dec. 16, 2018) 3:12-cv-00660 (S.D. Ill.):

        The Class here is estimated to include approximately 4.7 million members. Approximately 1.43 million of them
        received individual postcard or email notice of the terms of the proposed Settlement, and the rest were notified
        via a robust publication program “estimated to reach 78.8% of all U.S. Adults Aged 35+ approximately 2.4
        times.” Doc. 966-2 ¶¶ 26, 41. The Court previously approved the notice plan (Doc. 947), and now, having
        carefully reviewed the declaration of the Notice Administrator (Doc. 966-2), concludes that it was fully and
        properly executed, and reflected “the best notice that is practicable under the circumstances, including
        individual notice to all members who can be identified through reasonable effort.” See Fed. R. Civ. P.
        23(c)(2)(B). The Court further concludes that CAFA notice was properly effectuated to the attorneys general
        and insurance commissioners of all 50 states and District of Columbia.

Judge Jesse M. Furman, Alaska Electrical Pension Fund, et al. v. Bank of America, N.A., et al. (Nov. 13, 2018) 14-cv-7126
(S.D.N.Y.):

        The mailing and distribution of the Notice to all members of the Settlement Class who could be identified
        through reasonable effort, the publication of the Summary Notice, and the other Notice efforts described in
        the Motion for Final Approval, as provided for in the Court's June 26, 2018 Preliminary Approval Order, satisfy
        the requirements of Rule 23 of the Federal Rules of Civil Procedure and due process, constitute the best
        notice practicable under the circumstances, and constitute due and sufficient notice to all Persons entitled to notice.

Judge William L. Campbell, Jr., Ajose, et al. v. Interline Brands, Inc. (Oct. 23, 2018) 3:14-cv-01707 (M.D. Tenn.):

        The Court finds that the Notice Plan, as approved by the Preliminary Approval Order: (i) satisfied the
        requirements of Rule 23(c)(3) and due process; (ii) was reasonable and the best practicable notice under the

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        circumstances; (iii) reasonably apprised the Settlement Class of the pendency of the action, the terms of the
        Agreement, their right to object to the proposed settlement or opt out of the Settlement Class, the right to
        appear at the Final Fairness Hearing, and the Claims Process; and (iv) was reasonable and constituted due,
        adequate, and sufficient notice to all those entitled to receive notice.

Judge Joseph C. Spero, Abante Rooter and Plumbing v. Pivotal Payments Inc., d/b/a/ Capital Processing Network and
CPN (Oct. 15, 2018) 3:16-cv-05486 (N.D. Cal.):

        [T]the Court finds that notice to the class of the settlement complied with Rule 23(c)(3) and (e) and due
        process. Rule 23(e)(1) states that “[t]he court must direct notice in a reasonable manner to all class members
        who would be bound by” a proposed settlement, voluntary dismissal, or compromise. Class members are
        entitled to the “best notice that is practicable under the circumstances” of any proposed settlement before it
        is finally approved by the Court. Fed. R. Civ. P. 23(c)(2)(B)…The notice program included notice sent by first
        class mail to 1,750,564 class members and reached approximately 95.2% of the class.

Judge Marcia G. Cooke, Dipuglia v. US Coachways, Inc. (Sept. 28, 2018) 1:17-cv-23006 (S.D. Fla.):

        The Settlement Class Notice Program was the best notice practicable under the circumstances. The Notice
        Program provided due and adequate notice of the Case 1:17-cv-23006-MGC Document 66 Entered on FLSD
        Docket 09/28/2018 Page 3 of 7 4 proceedings and of the matters set forth therein, including the proposed
        settlement set forth in the Agreement, to all persons entitled to such notice and said notice fully satisfied the
        requirements of the Federal Rules of Civil Procedure and the United States Constitution, which include the
        requirement of due process.

Judge Beth Labson Freeman, Gergetz v. Telenav, Inc. (Sept. 27, 2018) 5:16-cv-04261 (N.D. Cal.):

        The Court finds that the Notice and Notice Plan implemented pursuant to the Settlement Agreement, which
        consists of individual notice sent via first-class U.S. Mail postcard, notice provided via email, and the posting
        of relevant Settlement documents on the Settlement Website, has been successfully implemented and was
        the best notice practicable under the circumstances and: (1) constituted notice that was reasonably calculated,
        under the circumstances, to apprise the Settlement Class Members of the pendency of the Action, their right
        to object to or to exclude themselves from the Settlement Agreement, and their right to appear at the Final
        Approval Hearing; (2) was reasonable and constituted due, adequate, and sufficient notice to all persons
        entitled to receive notice; and (3) met all applicable requirements of the Federal Rules of Civil Procedure, the
        Due Process Clause, and the Rules of this Court.

Judge M. James Lorenz, Farrell v. Bank of America, N.A. (Aug. 31, 2018) 3:16-cv-00492 (S.D. Cal.):

        The Court therefore finds that the Class Notices given to Settlement Class members adequately informed
        Settlement Class members of all material elements of the proposed Settlement and constituted valid, due,
        and sufficient notice to Settlement Class members. The Court further finds that the Notice Program satisfies
        due process and has been fully implemented.

Judge Dean D. Pregerson, Falco, et al. v. Nissan North America, Inc., et al. (July 16, 2018) 2:13-cv-00686 (C.D. Cal.):

        Notice to the Settlement Class as required by Rule 23(e) of the Federal Rules of Civil Procedure has been
        provided in accordance with the Court’s Preliminary Approval Order, and such Notice by first-class mail was
        given in an adequate and sufficient manner, and constitutes the best notice practicable under the
        circumstances, and satisfies all requirements of Rule 23(e) and due process.

Judge Lynn Adelman, In re: Windsor Wood Clad Window Product Liability Litigation (July 16, 2018) MDL No. 2688, 16-
md-02688 (E.D. Wis.):

        The Court finds that the Notice Program was appropriately administered, and was the best practicable notice
        to the Class under the circumstances, satisfying the requirements of Rule 23 and due process. The Notice
        Program, constitutes due, adequate, and sufficient notice to all persons, entities, and/or organizations entitled
        to receive notice; fully satisfied the requirements of the Constitution of the United States (including the Due
        Process Clause), Rule 23 of the Federal Rules of Civil Procedure, and any other applicable law; and is based
        on the Federal Judicial Center’s illustrative class action notices.



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Judge Stephen K. Bushong, Surrett, et al. v. Western Culinary Institute, et al. (June 18, 2018) 0803-03530 (Ore. Cir. County
of Multnomah):

        This Court finds that the distribution of the Notice of Settlement was effected in accordance with the
        Preliminary Approval/Notice Order, dated February 9, 2018, was made pursuant to ORCP 32 D, and fully met
        the requirements of the Oregon Rules of Civil Procedure, due process, the United States Constitution, the
        Oregon Constitution, and any other applicable law.

Judge Jesse M. Furman, Alaska Electrical Pension Fund, et al. v. Bank of America, N.A., et al. (June 1, 2018) 14-cv-7126
(S.D.N.Y.):

        The mailing of the Notice to all members of the Settlement Class who could be identified through reasonable
        effort, the publication of the Summary Notice, and the other Notice distribution efforts described in the Motion
        for Final Approval, as provided for in the Court’s October 24, 2017 Order Providing for Notice to the Settlement
        Class and Preliminarily Approving the Plan of Distribution, satisfy the requirements of Rule 23 of the Federal
        Rules of Civil Procedure and due process, constitute the best notice practicable under the circumstances,
        and constitute due and sufficient notice to all Persons entitled to notice.

Judge Brad Seligman, Larson v. John Hancock Life Insurance Company (U.S.A.) (May 8, 2018) RG16813803 (Sup. Ct. Cal.):

        The Court finds that the Class Notice and dissemination of the Class Notice as carried out by the Settlement
        Administrator complied with the Court’s order granting preliminary approval and all applicable requirements of law,
        including, but not limited to California Rules of Court, rule 3.769(f) and the Constitutional requirements of due
        process, and constituted the best notice practicable under the circumstances and sufficient notice to all persons
        entitled to notice of the Settlement.

        [T]he dissemination of the Class Notice constituted the best notice practicable because it included mailing individual
        notice to all Settlement Class Members who are reasonably identifiable using the same method used to inform
        class members of certification of the class, following a National Change of Address search and run through the
        LexisNexis Deceased Database.

Judge Federico A. Moreno, Masson v. Tallahassee Dodge Chrysler Jeep, LLC (May 8, 2018) 17-cv-22967 (S.D. Fla.):

        The Settlement Class Notice Program was the best notice practicable under the circumstances. The Notice
        Program provided due and adequate notice of the proceedings and of the matters set forth therein, including
        the proposed settlement set forth in the Agreement, to all persons entitled to such notice and said notice fully
        satisfied the requirements of the Federal Rules of Civil Procedure and the United States Constitution, which
        include the requirement of due process.

Chancellor Russell T. Perkins, Morton v. GreenBank (Apr. 18, 2018) 11-135-IV (20th Jud. Dist. Tenn.):

        The Notice Program as provided or in the Agreement and the Preliminary Amended Approval Order
        constituted the best notice practicable under the circumstances, including individual notice to all Settlement
        Class members who could be identified through reasonable effort. The Notice Plan fully satisfied the
        requirements of Tennessee Rule of Civil Procedure 23.03, due process and any other applicable law.

Judge James V. Selna, Callaway v. Mercedes-Benz USA, LLC (Mar. 8, 2018) 8:14-cv-02011 (C.D. Cal.):

        The Court finds that the notice given to the Class was the best notice practicable under the circumstances of
        this case, and that the notice complied with the requirements of Federal Rule of Civil Procedure 23 and due process.

        The notice given by the Class Administrator constituted due and sufficient notice to the Settlement Class, and
        adequately informed members of the Settlement Class of their right to exclude themselves from the Settlement
        Class so as not to be bound by the terms of the Settlement Agreement and how to object to the Settlement.

        The Court has considered and rejected the objection . . . [regarding] the adequacy of the notice plan. The
        notice given provided ample information regarding the case. Class members also had the ability to seek
        additional information from the settlement website, from Class Counsel or from the Class Administrator




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Judge Thomas M. Durkin, Vergara, et al., v. Uber Technologies, Inc. (Mar. 1, 2018) 1:15-cv-06972 (N.D. Ill.):

        The Court finds that the Notice Plan set forth in Section IX of the Settlement Agreement and effectuated
        pursuant to the Preliminary Approval Order constitutes the best notice practicable under the circumstances
        and shall constitute due and sufficient notice to the Settlement Classes of the pendency of this case,
        certification of the Settlement Classes for settlement purposes only, the terms of the Settlement Agreement,
        and the Final Approval Hearing, and satisfies the requirements of the Federal Rules of Civil Procedure, the
        United States Constitution, and any other applicable law. Further, the Court finds that Defendant has timely
        satisfied the notice requirements of 28 U.S.C. Section 1715.

Judge Federico A. Moreno, In re: Takata Airbag Products Liability Litigation (Honda & Nissan) (Feb. 28, 2018) MDL
No. 2599 (S.D. Fla.):

        The Court finds that the Class Notice has been given to the Class in the manner approved by the Court in its
        Preliminary Approval Order. The Court finds that such Class Notice: (i) is reasonable and constitutes the best
        practicable notice to Class Members under the circumstances; (ii) constitutes notice that was reasonably
        calculated, under the circumstances, to apprise Class Members of the pendency of the Action and the terms
        of the Settlement Agreement, their right to exclude themselves from the Class or to object to all or any part of
        the Settlement Agreement, their right to appear at the Fairness Hearing (either on their own or through counsel
        hired at their own expense) and the binding effect of the orders and Final Order and Final Judgment in the
        Action, whether favorable or unfavorable, on all persons and entities who or which do not exclude themselves
        from the Class; (iii) constitutes due, adequate, and sufficient notice to all persons or entities entitled to receive
        notice; and (iv) fully satisfied the requirements of the United States Constitution (including the Due Process
        Clause), FED R. CIV. R. 23 and any other applicable law as well as complying with the Federal Judicial Center's
        illustrative class action notices.

Judge Susan O. Hickey, Larey v. Allstate Property and Casualty Insurance Company (Feb. 9, 2018) 4:14-cv-04008 (W.D. Kan.):

        Based on the Court’s review of the evidence submitted and argument of counsel, the Court finds and
        concludes that the Class Notice and Claim Form was mailed to potential Class Members in accordance with
        the provisions of the Preliminary Approval Order, and together with the Publication Notice, the automated toll-
        free telephone number, and the settlement website: (i) constituted, under the circumstances, the most
        effective and practicable notice of the pendency of the Lawsuit, this Stipulation, and the Final Approval
        Hearing to all Class Members who could be identified through reasonable effort; and (ii) met all requirements
        of the Federal Rules of Civil Procedure, the requirements of due process under the United States Constitution,
        and the requirements of any other applicable rules or law.

Judge Muriel D. Hughes, Glaske v. Independent Bank Corporation (Jan. 11, 2018) 13-009983 (Cir. Ct. Mich.):

        The Court-approved Notice Plan satisfied due process requirements . . . The notice, among other things, was
        calculated to reach Settlement Class Members because it was sent to their last known email or mail address in the
        Bank’s files.

Judge Naomi Reice Buchwald, Orlander v. Staples, Inc. (Dec. 13, 2017) 13-CV-0703 (S.D.N.Y.):

        The Notice of Class Action Settlement (“Notice”) was given to all Class Members who could be identified with
        reasonable effort in accordance with the terms of the Settlement Agreement and Preliminary Approval Order.
        The form and method of notifying the Class of the pendency of the Action as a class action and the terms and
        conditions of the proposed Settlement met the requirements of Federal Rule of Civil Procedure 23 and the
        Constitution of the United States (including the Due Process Clause); and any other applicable law,
        constituted the best notice practicable under the circumstances, and constituted due and sufficient notice to
        all persons and entities entitled thereto.

Judge Lisa Godbey Wood, T.A.N. v. PNI Digital Media, Inc. (Dec. 1, 2017) 2:16-cv-132 (S.D. Ga.):

        Notice to the Settlement Class Members required by Rule 23 has been provided as directed by this Court in
        the Preliminary Approval Order, and such notice constituted the best notice practicable, including, but not
        limited to, the forms of notice and methods of identifying and providing notice to the Settlement Class
        Members, and satisfied the requirements of Rule 23 and due process, and all other applicable laws.



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Judge Robin L. Rosenberg, Gottlieb v. Citgo Petroleum Corporation (Nov. 29, 2017) 9:16-cv-81911 (S.D. Fla):

        The Settlement Class Notice Program was the best notice practicable under the circumstances. The Notice
        Program provided due and adequate notice of the proceedings and of the matters set forth therein, including
        the proposed settlement set forth in the Settlement Agreement, to all persons entitled to such notice and said
        notice fully satisfied the requirements of the Federal Rules of Civil Procedure and the United States
        Constitution, which include the requirement of due process.

Judge Donald M. Middlebrooks, Mahoney v. TT of Pine Ridge, Inc. (Nov. 20, 2017) 9:17-cv-80029 (S.D. Fla.):

        Based on the Settlement Agreement, Order Granting Preliminary Approval of Class Action Settlement
        Agreement, and upon the Declaration of Cameron Azari, Esq. (DE 61-1), the Court finds that Class Notice
        provided to the Settlement Class was the best notice practicable under the circumstances, and that it satisfied
        the requirements of due process and Federal Rule of Civil Procedure 23(e)(1).

Judge Gerald Austin McHugh, Sobiech v. U.S. Gas & Electric, Inc., i/t/d/b/a Pennsylvania Gas & Electric, et al. (Nov. 8,
2017) 2:14-cv-04464 (E.D. Pa.):

        Notice has been provided to the Settlement Class of the pendency of this Action, the conditional certification
        of the Settlement Class for purposes of this Settlement, and the preliminary approval of the Settlement
        Agreement and the Settlement contemplated thereby. The Court finds that the notice provided was the best
        notice practicable under the circumstances to all persons entitled to such notice and fully satisfied the
        requirements of Rule 23 of the Federal Rules of Civil Procedure and the requirements of due process.

Judge Federico A. Moreno, In re: Takata Airbag Products Liability Litigation (BMW, Mazda, Toyota, & Subaru) (Nov.
1, 2017) MDL No. 2599 (S.D. Fla.):

        [T]he Court finds that the Class Notice has been given to the Class in the manner approved in the Preliminary
        Approval Order. The Class Notice: (i) is reasonable and constitutes the best practicable notice to Class
        Members under the circumstances; (ii) constitutes notice that was reasonably calculated, under the
        circumstances, to apprise Class Members of the pendency of the Action and the terms of the Settlement
        Agreement, their right to exclude themselves from the Class or to object to all or any part of the Settlement
        Agreement, their right to appear at the Fairness Hearing (either on their own or through counsel hired at their
        own expense), and the binding effect of the orders and Final Order and Final Judgment in the Action, whether
        favorable or unfavorable, on all persons and entities who or which do not exclude themselves from the Class;
        (iii) constitutes due, adequate, and sufficient notice to all persons or entities entitled to receive notice; and (iv)
        fully satisfied the requirements of the United States Constitution (including the Due Process Clause), Federal
        Rule of Civil Procedure 23 and any other applicable law as well as complying with the Federal Judicial Center's
        illustrative class action notices.

Judge Charles R. Breyer, In re: Volkswagen “Clean Diesel” Marketing, Sales Practices and Products Liability Litigation
(May 17, 2017) MDL No. 2672 (N.D. Cal.):

        The Court is satisfied that the Notice Program was reasonably calculated to notify Class Members of the
        proposed Settlement. The Notice “apprise[d] interested parties of the pendency of the action and afford[ed]
        them an opportunity to present their objections.” Mullane v. Cent. Hanover Bank & Trust Co., 339 U.S. 306,
        314 (1950). Indeed, the Notice Administrator reports that the notice delivery rate of 97.04% “exceed[ed] the
        expected range and is indicative of the extensive address updating and re-mailing protocols used.” (Dkt. No.
        3188-2 ¶ 24.)

Judge Rebecca Brett Nightingale, Ratzlaff, et al. v. BOKF, NA d/b/a Bank of Oklahoma, et al. (May 15, 2017) CJ-2015-
00859 (Dist. Ct. Okla.):

        The Court-approved Notice Plan satisfies Oklahoma law because it is "reasonable" (12 O.S. § 2023(E)(I)) and
        it satisfies due process requirements because it was "reasonably calculated, under [the] circumstances, to
        apprise interested parties of the pendency of the action and afford them an opportunity to present their
        objections." Shutts, 472 U.S. at 812 (quoting Mullane, 339 U.S. at 314-15).




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Judge Joseph F. Bataillon, Klug v. Watts Regulator Company (Apr. 13, 2017) No. 8:15-cv-00061 (D. Neb.):

        The court finds that the notice to the Settlement Class of the pendency of the Class Action and of this
        settlement, as provided by the Settlement Agreement and by the Preliminary Approval Order dated
        December 7, 2017, constituted the best notice practicable under the circumstances to all persons and entities
        within the definition of the Settlement Class, and fully complied with the requirements of Federal Rules of
        Civil Procedure Rule 23 and due process. Due and sufficient proof of the execution of the Notice Plan as
        outlined in the Preliminary Approval Order has been filed.

Judge Yvonne Gonzalez Rogers, Bias v. Wells Fargo & Company, et al. (Apr. 13, 2017) 4:12-cv-00664 (N.D. Cal.):

        The form, content, and method of dissemination of Notice of Settlement given to the Settlement Class was
        adequate and reasonable and constituted the best notice practicable under the circumstances, including both
        individual notice to all Settlement Class Members who could be identified through reasonable effort and
        publication notice.

        Notice of Settlement, as given, complied with the requirements of Rule 23 of the Federal Rules of Civil
        Procedure, satisfied the requirements of due process, and constituted due and sufficient notice of the matters
        set forth herein.

        Notice of the Settlement was provided to the appropriate regulators pursuant to the Class Action Fairness
        Act, 28 U.S.C. § 1715(c)(1).

Judge Carlos Murguia, Whitton v. Deffenbaugh Industries, Inc., et al. (Dec. 14, 2016) 2:12-cv-02247 and Gary, LLC v.
Deffenbaugh Industries, Inc., et al. 2:13-cv-02634 (D. Kan.):

        The Court determines that the Notice Plan as implemented was reasonably calculated to provide the best
        notice practicable under the circumstances and contained all required information for members of the
        proposed Settlement Class to act to protect their interests. The Court also finds that Class Members were
        provided an adequate period of time to receive Notice and respond accordingly.

Judge Yvette Kane, In re: Shop-Vac Marketing and Sales Practices Litigation (Dec. 9, 2016) MDL No. 2380 (M.D. Pa.):

        The Court hereby finds and concludes that members of the Settlement Class have been provided the best
        notice practicable of the Settlement and that such notice satisfies all requirements of due process, Rule 23
        of the Federal Rules of Civil Procedure, the Class Action Fairness Act of 2005, 28 U.S.C. § 1715, and all
        other applicable laws.

Judge Timothy D. Fox, Miner v. Philip Morris USA, Inc. (Nov. 21, 2016) 60CV03-4661 (Ark. Cir. Ct.):

        The Court finds that the Settlement Notice provided to potential members of the Class constituted the best
        and most practicable notice under the circumstances, thereby complying fully with due process and Rule 23
        of the Arkansas Rules of Civil Procedure.

Judge Eileen Bransten, In re: HSBC Bank USA, N.A., as part of In re: Checking Account Overdraft Litigation (Oct. 13,
2016) 650562/2011 (Sup. Ct. N.Y.):

        This Court finds that the Notice Program and the Notice provided to Settlement Class members fully satisfied
        the requirements of constitutional due process, the N.Y. C.P.L.R., and any other applicable laws, and
        constituted the best notice practicable under the circumstances and constituted due and sufficient notice to
        all persons entitled thereto.

Judge Jerome B. Simandle, In re: Caterpillar, Inc. C13 and C15 Engine Products Liability Litigation (Sept. 20, 2016)
MDL No. 2540 (D.N.J.):

        The Court hereby finds that the Notice provided to the Settlement Class constituted the best notice
        practicable under the circumstances. Said Notice provided due and adequate notice of these proceedings
        and the matters set forth herein, including the terms of the Settlement Agreement, to all persons entitled to
        such notice, and said notice fully satisfied the requirements of Fed. R. Civ. P. 23, requirements of due
        process and any other applicable law.


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Judge Marcia G. Cooke, Chimeno-Buzzi v. Hollister Co. and Abercrombie & Fitch Co. (Apr. 11, 2016) 14-23120 (S.D. Fla.):

        Pursuant to the Court’s Preliminary Approval Order, the Settlement Administrator, Epiq Systems, Inc. [Hilsoft
        Notifications], has complied with the approved notice process as confirmed in its Declaration filed with the
        Court on March 23, 2016. The Court finds that the notice process was designed to advise Class Members
        of their rights. The form and method for notifying Class Members of the settlement and its terms and
        conditions was in conformity with this Court’s Preliminary Approval Order, constituted the best notice
        practicable under the circumstances, and satisfied the requirements of Federal Rule of Civil Procedure
        23(c)(2)(B), the Class Action Fairness Act of 2005 (“CAFA”), 28 U.S.C. § 1715, and due process under the
        United States Constitution and other applicable laws.

Judge Yvonne Gonzalez Rogers, In re: Lithium Ion Batteries Antitrust Litigation (Mar. 22, 2016) 4:13-md-02420 MDL No.
2420 (N.D. Cal.):

        From what I could tell, I liked your approach and the way you did it. I get a lot of these notices that I think are
        all legalese and no one can really understand them. Yours was not that way.

Judge Christopher S. Sontchi, In re: Energy Future Holdings Corp, et al. (July 30, 2015) 14-10979 (Bankr. D. Del.):

        Notice of the Asbestos Bar Date as set forth in this Asbestos Bar Date Order and in the manner set forth
        herein constitutes adequate and sufficient notice of the Asbestos Bar Date and satisfies the requirements of
        the Bankruptcy Code, the Bankruptcy Rules, and the Local Rules.

Judge David C. Norton, In re: MI Windows and Doors Inc. Products Liability Litigation (July 22, 2015) MDL No. 2333,
2:12-mn-00001 (D.S.C.):

        The court finds that the Notice Plan, as described in the Settlement and related declarations, has been
        faithfully carried out and constituted the best practicable notice to Class Members under the circumstances
        of this Action, and was reasonable and constituted due, adequate, and sufficient notice to all Persons entitled
        to be provided with Notice.

        The court also finds that the Notice Plan was reasonably calculated, under the circumstances, to apprise
        Class Members of: (1) the pendency of this class action; (2) their right to exclude themselves from the
        Settlement Class and the proposed Settlement; (3) their right to object to any aspect of the proposed
        Settlement (including final certification of the Settlement Class, the fairness, reasonableness, or adequacy
        of the proposed Settlement, the adequacy of the Settlement Class’s representation by Named Plaintiffs or
        Class Counsel, or the award of attorney’s and representative fees); (4) their right to appear at the fairness
        hearing (either on their own or through counsel hired at their own expense); and (5) the binding and
        preclusive effect of the orders and Final Order and Judgment in this Action, whether favorable or unfavorable,
        on all Persons who do not request exclusion from the Settlement Class. As such, the court finds that the
        Notice fully satisfied the requirements of the Federal Rules of Civil Procedure, including Federal Rule of Civil
        Procedure 23(c)(2) and (e), the United States Constitution (including the Due Process Clause), the rules of
        this court, and any other applicable law, and provided sufficient notice to bind all Class Members, regardless
        of whether a particular Class Member received actual notice.

Judge Robert W. Gettleman, Adkins, et al. v. Nestlé Purina PetCare Company, et al. (June 23, 2015) 1:12-cv-02871 (N.D. Ill.):

        Notice to the Settlement Class and other potentially interested parties has been provided in accordance with
        the notice requirements specified by the Court in the Preliminary Approval Order. Such notice fully and
        accurately informed the Settlement Class members of all material elements of the proposed Settlement and
        of their opportunity to object or comment thereon or to exclude themselves from the Settlement; provided
        Settlement Class Members adequate instructions and a variety of means to obtain additional information;
        was the best notice practicable under the circumstances; was valid, due, and sufficient notice to all
        Settlement Class members; and complied fully with the laws of the State of Illinois, Federal Rules of Civil
        Procedure, the United States Constitution, due process, and other applicable law.




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Judge James Lawrence King, Steen v. Capital One, N.A. (May 22, 2015) 2:10-cv-01505 (E.D. La.) and 1:10-cv-22058
(S.D. Fla.) as part of In re: Checking Account Overdraft Litigation, MDL No. 2036 (S.D. Fla.):

        The Court finds that the Settlement Class Members were provided with the best practicable notice; the notice
        was reasonably calculated, under [the] circumstances, to apprise interested parties of the pendency of the
        action and afford them an opportunity to present their objections.'' Shutts, 472 U.S. at 812 (quoting Mullane,
        339 U.S. at 314-15). This Settlement with Capital One was widely publicized, and any Settlement Class
        Member who wished to express comments or objections had ample opportunity and means to do so. Azari
        Decl. ¶¶ 30-39.

Judge Rya W. Zobel, Gulbankian et al. v. MW Manufacturers, Inc. (Dec. 29, 2014) 1:10-cv-10392 (D. Mass.):

        This Court finds that the Class Notice was provided to the Settlement Class consistent with the Preliminary
        Approval Order and that it was the best notice practicable and fully satisfied the requirements of the Federal
        Rules of Civil Procedure, due process, and applicable law. The Court finds that the Notice Plan that was
        implemented by the Claims Administrator satisfies the requirements of FED. R. CIV. P. 23, 28 U.S.C. § 1715,
        and Due Process, and is the best notice practicable under the circumstances. The Notice Plan constituted
        due and sufficient notice of the Settlement, the Final Approval Hearing, and the other matters referred to in
        the notices. Proof of the giving of such notices has been filed with the Court via the Azari Declaration and
        its exhibits.

Judge Edward J. Davila, Rose v. Bank of America Corporation, et al. (Aug. 29, 2014) 5:11-cv-02390 and 5:12-cv-0400
(N.D. Cal.):

        The Court finds that the notice was reasonably calculated under the circumstances to apprise the Settlement
        Class of the pendency of this action, all material elements of the Settlement, the opportunity for Settlement
        Class Members to exclude themselves from, object to, or comment on the settlement and to appear at the
        final approval hearing. The notice was the best notice practicable under the circumstances, satisfying the
        requirements of Rule 23(c)(2)(B); provided notice in a reasonable manner to all class members, satisfying
        Rule 23(e)(1)(B); was adequate and sufficient notice to all Class Members; and, complied fully with the laws
        of the United States and of the Federal Rules of Civil Procedure, due process and any other applicable rules
        of court.

Judge James A. Robertson, II, Wong, et al. v. Alacer Corp. (June 27, 2014) CGC-12-519221 (Sup. Ct. Cal.):

        Notice to the Settlement Class has been provided in accordance with the Preliminary Approval Order. Based
        on the Declaration of Cameron Azari dated March 7, 2014, such Class Notice has been provided in an
        adequate and sufficient manner, constitutes the best notice practicable under the circumstances and satisfies
        the requirements of California Civil Code Section 1781, California Civil Code of Civil Procedure Section 382,
        Rules 3.766 of the California Rules of Court, and due process.

Judge John Gleeson, In re: Payment Card Interchange Fee and Merchant Discount Antitrust Litigation (Dec. 13, 2013)
MDL No. 1720, 05-md-01720 (E.D.N.Y.):

        The Class Administrator notified class members of the terms of the proposed settlement through a mailed
        notice and publication campaign that included more than 20 million mailings and publication in more than
        400 publications. The notice here meets the requirements of due process and notice standards… The
        objectors’ complaints provide no reason to conclude that the purposes and requirements of a notice to a
        class were not met here.

Judge Lance M. Africk, Evans, et al. v. TIN, Inc., et al. (July 7, 2013) 2:11-cv-02067 (E.D. La.):

        The Court finds that the dissemination of the Class Notice… as described in Notice Agent Lauran Schultz’s
        Declaration: (a) constituted the best practicable notice to Class Members under the circumstances; (b)
        constituted notice that was reasonably calculated, under the circumstances…; (c) constituted notice that was
        reasonable, due, adequate, and sufficient; and (d) constituted notice that fully satisfied all applicable legal
        requirements, including Rules 23(c)(2)(B) and (e)(1) of the Federal Rules of Civil Procedure, the United
        States Constitution (including Due Process Clause), the Rules of this Court, and any other applicable law,
        as well as complied with the Federal Judicial Center’s illustrative class action notices.



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Judge Edward M. Chen, Marolda v. Symantec Corporation (Apr. 5, 2013) 3:08-cv-05701 (N.D. Cal.):

        Approximately 3.9 million notices were delivered by email to class members, but only a very small percentage
        objected or opted out . . . The Court . . . concludes that notice of settlement to the class was adequate and
        satisfied all requirements of Federal Rule of Civil Procedure 23(e) and due process. Class members received
        direct notice by email, and additional notice was given by publication in numerous widely circulated
        publications as well as in numerous targeted publications. These were the best practicable means of
        informing class members of their rights and of the settlement’s terms.

Judge Ann D. Montgomery, In re: Zurn Pex Plumbing Products Liability Litigation (Feb. 27, 2013) MDL No. 1958,
08-md-1958 (D. Minn.):

        The parties retained Hilsoft Notifications ("Hilsoft"), an experienced class-notice consultant, to design and
        carry out the notice plan. The form and content of the notices provided to the class were direct,
        understandable, and consistent with the "plain language" principles advanced by the Federal Judicial Center.

        The notice plan's multi-faceted approach to providing notice to settlement class members whose identity is
        not known to the settling parties constitutes "the best notice [*26] that is practicable under the circumstances"
        consistent with Rule 23(c)(2)(B).

Magistrate Judge Stewart, Gessele, et al. v. Jack in the Box, Inc. (Jan. 28, 2013) 3:10-cv-960 (D. Ore.):

        Moreover, plaintiffs have submitted [a] declaration from Cameron Azari (docket #129), a nationally
        recognized notice expert, who attests that fashioning an effective joint notice is not unworkable or unduly
        confusing. Azari also provides a detailed analysis of how he would approach fashioning an effective notice
        in this case.

Judge Carl J. Barbier, In re: Oil Spill by the Oil Rig “Deepwater Horizon” in the Gulf of Mexico, on April 20, 2010
(Medical Benefits Settlement) (Jan. 11, 2013) MDL No. 2179 (E.D. La.):

        Through August 9, 2012, 366,242 individual notices had been sent to potential [Medical Benefits] Settlement
        Class Members by postal mail and 56,136 individual notices had been e-mailed. Only 10,700 mailings—or
        3.3%—were known to be undeliverable. (Azari Decl. ¶¶ 8, 9.) Notice was also provided through an extensive
        schedule of local newspaper, radio, television and Internet placements, well-read consumer magazines, a
        national daily business newspaper, highly-trafficked websites, and Sunday local newspapers (via newspaper
        supplements). Notice was also provided in non-measured trade, business and specialty publications,
        African-American, Vietnamese, and Spanish language publications, and Cajun radio programming. The
        combined measurable paid print, television, radio, and Internet effort reached an estimated 95% of adults
        aged 18+ in the Gulf Coast region an average of 10.3 times each, and an estimated 83% of all adults in the
        United States aged 18+ an average of 4 times each. (Id. ¶¶ 8, 10.) All notice documents were designed to
        be clear, substantive, and informative. (Id. ¶ 5.)

        The Court received no objections to the scope or content of the [Medical Benefits] Notice Program. (Azari
        Supp. Decl. ¶ 12.) The Court finds that the Notice and Notice Plan as implemented satisfied the best notice
        practicable standard of Rule 23(c) and, in accordance with Rule 23(e)(1), provided notice in a reasonable
        manner to Class Members who would be bound by the Settlement, including individual notice to all Class
        Members who could be identified through reasonable effort. Likewise, the Notice and Notice Plan satisfied
        the requirements of Due Process. The Court also finds the Notice and Notice Plan satisfied the requirements
        of CAFA.

Judge Carl J. Barbier, In re: Oil Spill by the Oil Rig “Deepwater Horizon” in the Gulf of Mexico, on April 20, 2010
(Economic and Property Damages Settlement) (Dec. 21, 2012) MDL No. 2179 (E.D. La.):

        The Court finds that the Class Notice and Class Notice Plan satisfied and continue to satisfy the applicable
        requirements of Federal Rule of Civil Procedure 23(c)(2)(b) and 23(e), the Class Action Fairness Act (28
        U.S.C. § 1711 et seq.), and the Due Process Clause of the United States Constitution (U.S. Const., amend.
        V), constituting the best notice that is practicable under the circumstances of this litigation. The notice
        program surpassed the requirements of Due Process, Rule 23, and CAFA. Based on the factual elements
        of the Notice Program as detailed below, the Notice Program surpassed all of the requirements of Due
        Process, Rule 23, and CAFA.



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       The Notice Program, as duly implemented, surpasses other notice programs that Hilsoft Notifications has
       designed and executed with court approval. The Notice Program included notification to known or potential
       Class Members via postal mail and e-mail; an extensive schedule of local newspaper, radio, television and
       Internet placements, well-read consumer magazines, a national daily business newspaper, and Sunday local
       newspapers. Notice placements also appeared in non-measured trade, business, and specialty publications,
       African-American, Vietnamese, and Spanish language publications, and Cajun radio programming. The
       Notice Program met the objective of reaching the greatest possible number of class members and providing
       them with every reasonable opportunity to understand their legal rights. See Azari Decl. ¶¶ 8, 15, 68. The
       Notice Program was substantially completed on July 15, 2012, allowing class members adequate time to
       make decisions before the opt-out and objections deadlines.

       The media notice effort alone reached an estimated 95% of adults in the Gulf region an average of 10.3
       times each, and an estimated 83% of all adults in the United States an average of 4 times each. These
       figures do not include notice efforts that cannot be measured, such as advertisements in trade publications
       and sponsored search engine listings. The Notice Program fairly and adequately covered and notified the
       class without excluding any demographic group or geographic area, and it exceeded the reach percentage
       achieved in most other court-approved notice programs.

Judge Alonzo Harris, Opelousas General Hospital Authority, A Public Trust, D/B/A Opelousas General Health System
and Arklamiss Surgery Center, L.L.C. v. FairPay Solutions, Inc. (Aug. 17, 2012) 12-C-1599 (27th Jud. D. Ct. La.):

       Notice given to Class Members and all other interested parties pursuant to this Court’s order of April 18,
       2012, was reasonably calculated to apprise interested parties of the pendency of the action, the certification
       of the Class as Defined for settlement purposes only, the terms of the Settlement Agreement, Class Members
       rights to be represented by private counsel, at their own costs, and Class Members rights to appear in Court
       to have their objections heard, and to afford persons or entities within the Class Definition an opportunity to
       exclude themselves from the Class. Such notice complied with all requirements of the federal and state
       constitutions, including the Due Process Clause, and applicable articles of the Louisiana Code of Civil
       Procedure, and constituted the best notice practicable under the circumstances and constituted due and
       sufficient notice to all potential members of the Class as Defined.

Judge James Lawrence King, Sachar v. Iberiabank Corporation (Apr. 26, 2012) as part of In re: Checking Account
Overdraft MDL No. 2036 (S.D. Fla):

       The Court finds that the Notice previously approved was fully and properly effectuated and was sufficient to
       satisfy the requirements of due process because it described “the substantive claims . . . [and] contained
       information reasonably necessary to [allow Settlement Class Members to] make a decision to remain a
       class member and be bound by the final judgment.'' In re: Nissan Motor Corp. Antitrust Litig., 552 F.2d
       1088, 1104-05 (5th Cir. 1977). The Notice, among other things, defined the Settlement Class, described
       the release as well as the amount and method and manner of proposed distribution of the Settlement
       proceeds, and informed Settlement Class Members of their rights to opt-out or object, the procedures for
       doing so, and the time and place of the Final Approval Hearing. The Notice also informed Settlement Class
       Members that a class judgment would bind them unless they opted out, and told them where they could
       obtain more information, such as access to a full copy of the Agreement. Further, the Notice described in
       summary form the fact that Class Counsel would be seeking attorneys' fees of up to 30 percent of the
       Settlement. Settlement Class Members were provided with the best practicable notice “reasonably
       calculated, under [the] circumstances, to apprise them of the pendency of the action and afford them an
       opportunity to present their objections.'' Mullane, 339 U.S. at 314. The content of the Notice fully complied with the
       requirements of Rule 23.

Judge Bobby Peters, Vereen v. Lowe’s Home Centers (Apr. 13, 2012) SU10-cv-2267B (Ga. Super. Ct.):

       The Court finds that the Notice and the Notice Plan was fulfilled, in accordance with the terms of the
       Settlement Agreement, the Amendment, and this Court’s Preliminary Approval Order and that this Notice
       and Notice Plan constituted the best practicable notice to Class Members under the circumstances of this
       action, constituted due and sufficient Notice of the proposed Settlement to all persons entitled to participate
       in the proposed Settlement, and was in full compliance with Ga. Code Ann § 9-11-23 and the constitutional
       requirements of due process. Extensive notice was provided to the class, including point of sale notification,
       publication notice and notice by first-class mail for certain potential Class Members.



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        The affidavit of the notice expert conclusively supports this Court’s finding that the notice program was
        adequate, appropriate, and comported with Georgia Code Ann. § 9-11-23(b)(2), the Due Process Clause of
        the Constitution, and the guidance for effective notice articulate in the FJC’s Manual for Complex Litigation, 4th.

Judge Lee Rosenthal, In re: Heartland Payment Systems, Inc. Customer Data Security Breach Litigation (Mar. 2,
2012) MDL No. 2046 (S.D. Tex.):

        The notice that has been given clearly complies with Rule 23(e)(1)’s reasonableness requirement… Hilsoft
        Notifications analyzed the notice plan after its implementation and conservatively estimated that notice
        reached 81.4 percent of the class members. (Docket Entry No. 106, ¶ 32). Both the summary notice and
        the detailed notice provided the information reasonably necessary for the presumptive class members to
        determine whether to object to the proposed settlement. See Katrina Canal Breaches, 628 F.3d at 197.
        Both the summary notice and the detailed notice “were written in easy-to-understand plain English.” In re:
        Black Farmers Discrimination Litig., — F. Supp. 2d —, 2011 WL 5117058, at *23 (D.D.C. 2011); accord
        AGGREGATE LITIGATION § 3.04(c).15 The notice provided “satisf[ies] the broad reasonableness standards
        imposed by due process” and Rule 23. Katrina Canal Breaches, 628 F.3d at 197.

Judge John D. Bates, Trombley v. National City Bank (Dec. 1, 2011) 1:10-cv-00232 (D.D.C.) as part of In re: Checking
Account Overdraft Litigation MDL No. 2036 (S.D. Fla.):

        The form, content, and method of dissemination of Notice given to the Settlement Class were in full
        compliance with the Court’s January 11, 2011 Order, the requirements of Fed. R. Civ. P. 23(e), and due
        process. The notice was adequate and reasonable, and constituted the best notice practicable under the
        circumstances. In addition, adequate notice of the proceedings and an opportunity to participate in the final
        fairness hearing were provided to the Settlement Class.

Judge Robert M. Dow, Jr., Schulte v. Fifth Third Bank (July 29, 2011) 1:09-cv-06655 (N.D. Ill.):

        The Court has reviewed the content of all of the various notices, as well as the manner in which Notice was
        disseminated, and concludes that the Notice given to the Class fully complied with Federal Rule of Civil
        Procedure 23, as it was the best notice practicable, satisfied all constitutional due process concerns, and
        provided the Court with jurisdiction over the absent Class Members.

Judge Ellis J. Daigle, Williams v. Hammerman & Gainer Inc. (June 30, 2011) 11-C-3187-B (27th Jud. D. Ct. La.):

        Notices given to Settlement Class members and all other interested parties throughout this proceeding with
        respect to the certification of the Settlement Class, the proposed settlement, and all related procedures and
        hearings—including, without limitation, the notice to putative Settlement Class members and others more
        fully described in this Court’s order of 30th day of March 2011 were reasonably calculated under all the
        circumstances and have been sufficient, as to form, content, and manner of dissemination, to apprise
        interested parties and members of the Settlement Class of the pendency of the action, the certification of
        the Settlement Class, the Settlement Agreement and its contents, Settlement Class members’ right to be
        represented by private counsel, at their own cost, and Settlement Class members’ right to appear in Court
        to have their objections heard, and to afford Settlement Class members an opportunity to exclude
        themselves from the Settlement Class. Such notices complied with all requirements of the federal and state
        constitutions, including the due process clause, and applicable articles of the Louisiana Code of Civil
        Procedures, and constituted the best notice practicable under the circumstances and constituted due and
        sufficient notice to all potential members of the Settlement Class.

Judge Stefan R. Underhill, Mathena v. Webster Bank, N.A. (Mar. 24, 2011) 3:10-cv-01448 (D. Conn.) as part of In re:
Checking Account Overdraft Litigation MDL No. 2036 (S.D. Fla.):

        The form, content, and method of dissemination of Notice given to the Settlement Class were adequate and
        reasonable, and constituted the best notice practicable under the circumstances. The Notice, as given,
        provided valid, due, and sufficient notice of the proposed settlement, the terms and conditions set forth in
        the Settlement Agreement, and these proceedings to all persons entitled to such notice, and said notice
        fully satisfied the requirements of Rule 23 of the Federal Rules of Civil Procedure and due process.

Judge Ted Stewart, Miller v. Basic Research, LLC (Sept. 2, 2010) 2:07-cv-00871 (D. Utah):

        Plaintiffs state that they have hired a firm specializing in designing and implementing large scale, unbiased,

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        legal notification plans. Plaintiffs represent to the Court that such notice will include: 1) individual notice by
        electronic mail and/or first-class mail sent to all reasonably identifiable Class members; 2) nationwide paid
        media notice through a combination of print publications, including newspapers, consumer magazines,
        newspaper supplements and the Internet; 3) a neutral, Court-approved, informational press release; 4) a
        neutral, Court-approved Internet website; and 5) a toll-free telephone number. Similar mixed media plans
        have been approved by other district courts post class certification. The Court finds this plan is sufficient to
        meet the notice requirement.

Judge Sara Loi, Pavlov v. Continental Casualty Co. (Oct. 7, 2009) 5:07-cv-2580 (N.D. Ohio):

        As previously set forth in this Memorandum Opinion, the elaborate notice program contained in the
        Settlement Agreement provides for notice through a variety of means, including direct mail to each class
        member, notice to the United States Attorney General and each State, a toll free number, and a website
        designed to provide information about the settlement and instructions on submitting claims. With a 99.9%
        effective rate, the Court finds that the notice program constituted the “best notice that is practicable under
        the circumstances,” Fed. R. Civ. P. 23(c)(2)(B), and clearly satisfies the requirements of Rule 23(c)(2)(B).

Judge James Robertson, In re: Department of Veterans Affairs (VA) Data Theft Litigation (Sept. 23, 2009) MDL No.
1796 (D.D.C.):

        The Notice Plan, as implemented, satisfied the requirements of due process and was the best notice
        practicable under the circumstances. The Notice Plan was reasonably calculated, under the circumstances,
        to apprise Class Members of the pendency of the action, the terms of the Settlement, and their right to
        appear, object to or exclude themselves from the Settlement. Further, the notice was reasonable and
        constituted due, adequate and sufficient notice to all persons entitled to receive notice.


                                                   LEGAL NOTICE CASES


   Hilsoft has served as a notice expert for planning, implementation and/or analysis in the following partial list of cases:

    Pearlstone v. Wal-Mart Stores, Inc. (Sales Tax)                            C.D. Cal., No. 4:17-cv-02856
    Zanca, et al. v. Epic Games, Inc. (Fortnite or Rocket League
                                                                 Sup Ct. Wake Cnty., N.C., No. 21-CVS-534
    Video Games)
    In re: Flint Water Cases                                                   E.D. Mich., No. 5:16-cv-10444

    Kukorinis, et al. v. Walmart, Inc.                                         S.D. Fla., No. 1:19-cv-20592

    Grace v. Apple, Inc.                                                       N.D. Cal., No. 17-CV-00551

    Alvarez v. Sirius XM Radio Inc.                                            C.D. Cal., No. 2:18-cv-8605

    In re: Pre-Filled Propane Tank Antitrust Litigation                        W.D. Mo., No. MDL No. 2567, No. 14-2567
    In re: Disposable Contact Lens Antitrust Litigation (ABB
                                                             M.D. Fla., No. 3:15-md-02626
    Concise Optical Group, LLC)
    Bally v. State Farm Insurance Company                                      N.D. Cal., No. 3:18-cv-04954

                                                                               Sup. Ct. Cal. Cty. of San Fran., No. CGC-
    Morris v. Provident Credit Union (Overdraft)
                                                                               19-581616

    Pennington v. Tetra Tech, Inc. et al.                                      N.D. Cal., No. 3:18-cv-05330

    Maldonado et al. v. Apple Inc, et al.                                      N.D. Cal., No. 3:16-cv-04067

                                                                               Sup. Ct. of Cal., Cnty of San Fran., No. CGC
    UFCW & Employers Benefit Trust v. Sutter Health, et al.
                                                                               14-538451 Consolidated with CGC-18-565398



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Fitzhenry v. Independent Home Products, LLC (TCPA)                   D.S.C., No. 2:19-cv-02993
In re: Hyundai and Kia Engine Litigation and Flaherty v. Hyundai
                                                                 C.D. Cal., Nos. 8:17-CV-00838 & 18-cv-02223
Motor Company, Inc., et al.
Sager, et al. v. Volkswagen Group of America, Inc., et al.           D.N.J., No. 18-cv-13556

Bautista v. Valero Marketing and Supply Company                      N.D. Cal., No. 3:15-cv-05557
Snee Farm Lakes Homeowner's Association Inc. v. The
                                                             Ct. of Com. Pleas., S.C., No. 2018-CP-10-
Commissioners of Public Works for the Town of Mount Pleasant
                                                             2764
d/b/a Mount Pleasant Waterworks
Richards, et al. v. Chime Financial, Inc.                            N.D. Cal., No. 4:19-cv-06864

In re: Health Insurance Innovations Securities Litigation            M.D. Fla., No. 8:17-cv-02186
Fox, et al. v. Iowa Health System d.b.a. UnityPoint Health (Data
                                                                 W.D. Wis., No. 18-cv-327
Breach)
Smith v. Costa Del Mar, Inc.                                         M.D. Fla., No. 3:18-cv-1011

Al’s Discount Plumbing, et al. v. Viega, LLC (Building Products)     M.D. Pa., No. 19-cv-00159

The Weinstein Company Holdings, LLC                                  Bankr. D. Del., No. 18-10601

Rose v. The Travelers Home and Marine Insurance Company, et al. E.D. Pa., No. 19-cv-00977

Paris et al. v. Progressive American Insurance Company, et al.       S.D. Fla., No. 19-cv-21761

Chinitz v. Intero Real Estate Services                               N.D. Cal., No. 5:18-cv-05623

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